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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


        IN RE: XARELTO (RIVAROXABAN)          MDL NO. 2592
        PRODUCTS LIABILITY LITIGATION,
                                              SECTION L

        THIS DOCUMENT RELATES TO:             MAG. JUDGE NORTH

        DORA MINGO, NO. 15-03469



                                      - - -

                               FEBRUARY 15, 2017

                                      - - -

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                 Videotaped deposition of VONDA G. REEVES-DARBY,
            MD, held at Bradley Arant Boult Cummings, One
            Jackson Place, 188 East Capitol Street, Suite 400,
            Jackson, Mississippi, commencing at 4:11 p.m., on
            the above date, before Joan L. Pitt, Registered
            Merit Reporter, Certified Realtime Reporter, and
            Florida Professional Reporter.

                                      - - -

                         GOLKOW TECHNOLOGIES, INC.
                     877.370.3377 ph | 917.591.5672 fax
                              deps@golkow.com




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                                                  Page 2                                                                  Page 4
   1    APPEARANCES:                                         1                      ---
   2      BRADLEY D. HONNOLD, ESQUIRE
          Goza & Honnold, LLC
                                                             2            THE VIDEOGRAPHER: We are now on the record.
   3      111150 Overbrook Road, Suite 250                   3         My name is Melissa Bardwell, videographer here for
          Leawood, Kansas 66211
   4      913.451.3433
                                                             4         Golkow Technologies. The date today is February 15,
          bhonnold@gohonlaw.com                              5         2017. The time is approximately 4:11 p.m.
   5      Representing Plaintiffs
   6
                                                             6            This videotaped deposition is being held in
   7      MARY CATHERINE WAY, ESQUIRE                        7         Jackson, Mississippi, in reference to the Xarelto
          Mitchell Williams
   8      425 West Capitol Avenue, Suite 1800
                                                             8         (Rivaroxaban) Products Liability Litigation. The
          Little Rock, Arkansas 72201                        9         deponent today is Vonda Reeves-Darby, MD.
   9      501.688.8890
          mway@mwlaw.com
                                                            10            Would counsel present please introduce
  10      Representing Defendant Bayer                      11         themselves and state their affiliations for the
  11
          MARGARET HOFFMANN, ESQUIRE
                                                            12         record.
  12      Schwabe Williamson Wyatt                          13            MR. HONNOLD: Bradley Honnold for Ms. Mingo.
          1211 Southwest 5th Avenue, Suite 1900
  13      Portland, Oregon 97204
                                                            14            MS. HOFFMANN: Margaret Hoffmann for the
          503.796.2868                                      15         Janssen defendants.
  14      mhoffmann@schwabe.com
          Representing Janssen Defendants
                                                            16            MS. WAY: Mary Catherine Way on behalf of
  15                                                        17         Bayer.
  16
        ALSO PRESENT:
                                                            18            THE VIDEOGRAPHER: The court reporter today is
  17                                                        19         Joan Pitt, and she will now swear in the witness.
          Melissa Bardwell, Videographer
  18
                                                            20            THE COURT REPORTER: Raise your right hand,
  19                                                        21         please. Do you swear or affirm the testimony you
  20
  21
                                                            22         give will be the truth, the whole truth, and nothing
  22                                                        23         but the truth?
  23
  24
                                                            24            THE WITNESS: I do.


                                                  Page 3                                                                  Page 5
   1                  ---                                    1          THE COURT REPORTER: Thank you.
   2                 INDEX                                   2          VONDA G. REEVES-DARBY, MD, called as a witness by
   3                  ---
                                                             3   the Plaintiff, having been first duly sworn, testified
   4   Testimony of: VONDA G. REEVES-DARBY, MD
   5     DIRECT EXAMINATION BY MR. HONNOLD              5    4   as follows:
   6                                                         5                   DIRECT EXAMINATION
   7                                                         6   BY MR. HONNOLD:
   8           EXHIBIT INDEX
                                                             7     Q. Doctor, good afternoon. Tell me your full
   9   REEVES-DARBY       DESCRIPTION        PAGE
  10   No. 1 PLAINTIFFS' NOTICE WITH SUBPOENA DUCES 12       8   name, please.
            TECUM OF ORAL VIDEOTAPED DEPOSITION OF           9     A. Vonda Gail Reeves-Darby.
  11        VONDA REEVES-DARBY, MD                          10     Q. You're a doctor?
  12   No. 2 EXPERT REPORT OF VONDA REEVES-DARBY, MD 15
                                                            11     A. Yes.
  13   No. 3 RESPONSES AND OBJECTIONS TO PLAINTIFFS' 15
            NOTICE WITH SUBPOENA DUCES TECUM OF             12     Q. Or a physician, whatever your preferred term
  14        ORAL VIDEOTAPED DEPOSITION OF VONDA             13   is?
            REEVES-DARBY, MD                                14     A. Interchangeable, yes.
  15
                                                            15     Q. Okay. And you have a specialty area of
       No. 4   SEPTEMBER 2015 XARELTO LABEL        40
  16                                                        16   practice of gastroenterology?
       No. 5 REVISED REFERENCE LIST FOR VONDA    196        17     A. Yes.
  17        REEVES-DARBY, MD                                18     Q. And can you tell us what gastroenterology is or
  18   No. 6 REFERENCE LIST FOR VONDA REEVES-DARBY, 196
                                                            19   what type of practice that is?
            MD
  19                                                        20     A. Gastroenterology is the study of digestion,
  20                                                        21   anything that pertains to the digestion of food or any
  21                                                        22   liquid products. It also entails the practice of
  22
                                                            23   hepatology. That is the study of liver diseases.
  23
  24                                                        24     Q. Okay. Okay. And then do you also deal with



                                                                                          2 (Pages 2 to 5)
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   1   injuries or trauma to the GI tract in any way?              1   gastroenterologist. The only exception is EUSs that I
   2     A. If you're talking about blunt trauma or things         2   no longer perform.
   3   of that nature, no, but injuries in other areas, yes.       3      Q. So you -- in terms of procedures other than
   4     Q. And you certainly deal with ulcer disease?             4   EUSs, you still on occasion perform the full panoply of
   5     A. I do.                                                  5   endoscopic procedures that gastroenterologists do; is
   6     Q. Okay. And you -- where do you practice?                6   that right?
   7     A. My practice is Gastrointestinal Associates, PA.        7      A. Yes.
   8   We have three locations, all here in the State of           8      Q. Is there -- is there a physician or physicians
   9   Mississippi.                                                9   in your group that tend to focus on certain types of
  10     Q. And where do you spend most of your time in           10   gastrointestinal or liver diseases more than other
  11   terms of those three locations, and we'll talk about       11   physicians do? What I mean by that, do you have some
  12   hospitals in a second, but out of your three locations     12   doctors in your practice that primarily see complex
  13   of your group, where do you spend the most of your time?   13   liver patients or see complex ulcerative colitis
  14     A. The majority of my time is spent in Flowood,          14   patients, things like that?
  15   Mississippi, and in Madison, Mississippi.                  15      A. We're not segmented in that way. Most of us,
  16     Q. And so you do see patients in the office?             16   the majority of us, particularly those of us that are
  17     A. I do.                                                 17   not as young, are fully trained gastroenterologists, but
  18     Q. You do see patients, I assume, in the                 18   as we have acquired younger partners, they have done a
  19   procedural suite where you perform endoscopy; right?       19   lot more of the EUS work. So we're -- we're -- that's
  20     A. I do.                                                 20   how the practice is divided.
  21     Q. You see patients in the hospital?                     21      Q. You're going to have to share your secret with
  22     A. All settings, yes.                                    22   us. What's EUS?
  23     Q. I take it that you have medical staff                 23      A. Endoscopic ultrasonography.
  24   privileges at hospitals in the Jackson, Mississippi,       24      Q. So it sounds like there's a way to use an


                                                        Page 7                                                         Page 9
   1   area; is that right?                                        1   endoscopic equipment to take ultrasound pictures of the
   2     A. Yes, sir, I do.                                        2   gastrointestinal tract or some of its structures?
   3     Q. In terms of your professional time, how it             3     A. Yes. It's the instrument actually is -- it's
   4   breaks down on a normal week to the extent that you have    4   fixed to the end of an endoscope, and the scope is
   5   one that's illustrative of others, how would your time      5   actually like an upper endoscope, but it has a balloon
   6   break down in terms of seeing scheduled patients in the     6   fixture that gives either a radial or a circumferential
   7   office, seeing scheduled patients for procedures, doing     7   sonogram on the tip of it.
   8   rounds or seeing patients in the hospital?                  8     Q. Okay. And is there a reason why you don't do
   9     A. The majority of my time is spent in the                9   that? That doesn't sound all that different than
  10   outpatient setting, so that means that I am doing          10   other -- other procedures?
  11   endoscopic procedures or I'm seeing clinic patients.       11     A. I was trained in it probably about 20 years
  12     Q. And endoscopic procedures, that would include         12   ago, and in my transition where I was, there was not a
  13   things -- both the upper GI tract and lower GI tract?      13   lot of it being done, and now you have such elite scopes
  14     A. Yes, and other procedures.                            14   and new young bright minds that it's not necessary for
  15     Q. And biliary system as well?                           15   me to do it. I have wonderful partners that I can refer
  16     A. Yes.                                                  16   to.
  17     Q. So you do colonoscopies; is that right?               17     Q. Okay. So how many doctors are in your group?
  18     A. Yes.                                                  18     A. There are 25.
  19     Q. Upper GI studies; correct?                            19     Q. And in terms of how you structure your time
  20     A. Upper endoscopy.                                      20   during a week, do you have certain days when you see
  21     Q. Upper endoscopy?                                      21   appointment patients in the office versus scheduled
  22     A. Yeah.                                                 22   patients where you're doing procedures?
  23     Q. ERCPs?                                                23     A. Yes, I do.
  24     A. Yes, I do. I'm a fully trained                        24     Q. How do you -- how do you break your time down?


                                                                                           3 (Pages 6 to 9)
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   1     A. I'm -- the majority of my time is in endoscopy,        1      A. The majority of them were summarized in the
   2   four days a week I do nothing but procedures, and one       2   case.
   3   day a week I'm in the clinic if that's my outpatient        3      Q. What's that mean?
   4   week.                                                       4      A. That means that they are inclusive.
   5     Q. So four days a week you are essentially                5      Q. You say the majority of them were summarized in
   6   spending your entire day at a procedural site, whether      6   the case, meaning in your report or some other source?
   7   that's connected to your office or a freestanding           7      A. The report and the references that I gave.
   8   facility; right?                                            8      Q. Okay. So is it true that all of the opinions
   9     A. That's correct.                                        9   that you have in this case are contained in your report?
  10     Q. And do you do procedures at both in terms of          10      A. That's correct.
  11   where you have procedures suites coincident to one or      11      Q. Okay. And there is a reference list that's
  12   more of your offices and also freestanding facilities?     12   attached as an exhibit to your report; is that right?
  13     A. All of our offices were designed and built for        13      A. Yes, it is.
  14   that.                                                      14      Q. I think you say that those are the materials
  15     Q. So if somebody has just a scheduled appointment       15   that you relied upon for your opinions; correct?
  16   to see you in the office, they'd be going to essentially   16      A. That's not the only thing, now. I practice and
  17   the same address as somebody who would be going to have    17   I've had a lot of medical experience in a lot of
  18   a colonoscopy?                                             18   different environments, so bottom line is that it's my
  19     A. That would be correct.                                19   personal clinic experience, it's ongoing medical
  20     Q. You mentioned some of this in your report, but        20   education in various forms, and exposure to the
  21   I think you said you may see sometimes 20 to 25 patients   21   literature.
  22   a day?                                                     22          (Reeves-Darby Exhibit No. 1 was marked for
  23     A. Yes, sir.                                             23   identification.)
  24     Q. Okay. Are there days when you do that many            24   BY MR. HONNOLD:


                                                      Page 11                                                   Page 13
   1   procedures?                                                 1      Q. I'm first going to hand you Deposition
   2      A. Some days, yes.                                       2   Exhibit 1. It may or may not be something that you've
   3      Q. You don't ever do 25 colonoscopies in a day?          3   seen before. It's just kind of the written notice for
   4      A. I can.                                                4   your deposition today. Have you seen that document
   5      Q. Okay. But do you routinely?                           5   before?
   6      A. I have one of the larger practices in this            6      A. I see it now, yes.
   7   area, and so routinely I do a pretty moderate volume of     7      Q. Okay. It's essentially just kind of a legal
   8   procedures, but usually it's a mix.                         8   invitation or a notice to everybody, lawyers and
   9      Q. Okay. What's that mean?                               9   everybody, about the fact that we're having the
  10      A. A mix of upper endoscopics and colonoscopies.        10   deposition today.
  11      Q. Okay. In this -- you know we're here today           11      A. Yes.
  12   to -- for me to take your deposition as it relates to      12      Q. You see that it sets forth today's date and
  13   Ms. Mingo's case; right?                                   13   time and place?
  14      A. That's correct.                                      14      A. Yes.
  15      Q. And you've prepared a report in this case;           15      Q. There's a request that's attached to this about
  16   right?                                                     16   a whole bunch of materials requesting that you gather
  17      A. I did, yes, uh-huh.                                  17   those and bring those. Have you seen that list before
  18      Q. What was your understanding as to the purpose        18   today?
  19   or why you were doing a report?                            19      A. I know of these lists, but this is the first
  20      A. I was doing a report to give my opinions on the      20   time I'm looking at this list, but it's --
  21   particular case, Ms. Mingo's case.                         21      Q. Did you gather materials of any type and give
  22      Q. And so was it your intention and goal when you       22   them to anyone?
  23   were preparing the report to set forth all of your         23      A. Did I gather materials? Are you talking about
  24   opinions in the case?                                      24   to give to a person, or what?


                                                                                     4 (Pages 10 to 13)
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   1      Q. Yeah, did you gather up some materials and give     1      Q. Okay. And did you get that cart for -- for
   2   them to anyone related to this case?                      2   your work on this case?
   3      A. Yes, I did.                                         3      A. No.
   4         MS. WAY: Object to the form.                        4      Q. Okay. You use it for other things?
   5         THE WITNESS: I have a reference list, and           5      A. Yes.
   6      that's basically the only thing that I can tell you    6      Q. Okay. You understand that you're serving in
   7      that goes along with this.                             7   the capacity of an expert witness in this case?
   8   BY MR. HONNOLD:                                           8      A. That's correct, medical expert witness.
   9      Q. Okay.                                               9      Q. Have you spoken with any of the treating
  10      A. Okay? Is that what you were asking?                10   physicians in this case?
  11      Q. Kind of, but that's -- that's okay.                11      A. No, I have not.
  12      A. Okay. Okay.                                        12      Q. Do you know any of them?
  13         MS. WAY: Brad, if I can interject.                 13      A. Not personally.
  14         MR. HONNOLD: Yes.                                  14      Q. Do you know them in some way other than
  15         MS. WAY: Just for completion, can I go ahead       15   personally?
  16      and introduce this as Exhibit 2?                      16      A. I've seen the name of Dr. Gholson before. She
  17         MR. HONNOLD: Yes.                                  17   refers to our practice.
  18         MS. WAY: It's our objections and responses.        18      Q. What does that mean?
  19         MR. HONNOLD: Yeah, that's great. So let's          19      A. She refers patients to our practice.
  20      mark that as 2 and we'll clip that in there.          20      Q. So if she has a patient that has a
  21   BY MR. HONNOLD:                                          21   gastrointestinal disease or disorder or she suspects one
  22      Q. So do you -- do you have either a physical --      22   does, she might send that patient your way for
  23         MR. HONNOLD: Actually, we're going to have to      23   evaluation?
  24      mark it as 3, because I put 2 on her report. Is       24      A. She might. She has a lot of choices. She


                                                    Page 15                                                    Page 17
   1     that okay?                                              1   could refer it locally or to us.
   2         MS. WAY: Yes.                                       2     Q. Have you served as an expert witness before?
   3         MR. HONNOLD: So just for the record so it's         3     A. I have.
   4     clear, I'm putting a sticker that says Exhibit 3 on     4     Q. In what -- in what context?
   5     the defendant's objections to the deposition notice.    5     A. A full range. I have done product litigation
   6         (Reeves-Darby Exhibit No. 2 was marked for          6   before. I have served as an expert for some malpractice
   7   identification.)                                          7   suits.
   8         (Reeves-Darby Exhibit No. 3 was marked for          8     Q. And you said you've served as an expert on some
   9   identification.)                                          9   products cases before. What kind of products cases?
  10   BY MR. HONNOLD:                                          10          MS. WAY: Let me interject here and just state
  11     Q. Do you have a -- do you have a file in this         11     that to the extent you're asking her for any -- to
  12   case either physical or electronic?                      12     disclose any consulting -- cases that she's
  13     A. Yes, I do.                                          13     consulted upon that she hasn't been disclosed in I'm
  14     Q. Okay. Where is it?                                  14     going to ask her not to disclose those.
  15     A. It's in my --                                       15          MR. HONNOLD: Well, I can ask her about it and
  16         MS. HOFFMANN: You mean where she physically        16     she doesn't -- it might depend upon whether I ask
  17     keeps it?                                              17     her to disclose specific contents, but I can
  18         MR. HONNOLD: Yeah.                                 18     certainly ask her, and she's going to have to tell
  19         THE WITNESS: My house is a good place.             19     me what things she has consulted on.
  20   BY MR. HONNOLD:                                          20          I may not be able to get into the substance or
  21     Q. And is your file, is it in a box, in a drawer?      21     her opinions, but I'm going to be able to find out
  22   Does it exist electronically or combination of both?     22     what she's done.
  23     A. I have an Office Depot cart that I use instead      23          MS. WAY: Yeah, and I guess my objection is
  24   of carrying around all of that weight.                   24     going to be consistent with the federal rules and


                                                                                   5 (Pages 14 to 17)
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   1     that she's certainly not been required to disclose        1   silicone breast implant product litigation.
   2     any expert work that she has done in a capacity           2     Q. What's V&E?
   3     where she has not written a report or served a            3     A. Vinson & Elkins.
   4     report or been disclosed as an expert.                    4     Q. Are they kind of commonly known on the street
   5        MR. HONNOLD: Yeah, okay.                               5   as V&E in that area of the country?
   6   BY MR. HONNOLD:                                             6     A. Yes, in most legal circles, yes.
   7     Q. Tell me all the times you've served as an              7     Q. Most legal circles. How do you know that?
   8   expert witness in products cases.                           8     A. I have a lot of friends that are lawyers.
   9     A. Excuse me a minute. Are you instructing me to          9     Q. Okay. Where?
  10   answer this?                                               10     A. Texas, Louisiana, Mississippi, New York.
  11        MS. WAY: You can answer that, yes.                    11     Q. And it's through those legal circles that
  12        THE WITNESS: Okay. All right. Now, repeat             12   you've discovered that Vinson & Elkins is known as V&E
  13     your question.                                           13   in legal circles?
  14   BY MR. HONNOLD:                                            14         MS. WAY: Object to the form.
  15     Q. Tell me all the times you've been an expert           15         THE WITNESS: Well, one of the principals at
  16   witness in products cases.                                 16     V&E was a good friend of mine.
  17        MS. WAY: Not a consulting witness, an expert          17   BY MR. HONNOLD:
  18     witness.                                                 18     Q. Who is that?
  19        THE WITNESS: An expert witness?                       19     A. Gosh, I was just talking about him. I trained
  20        MS. WAY: Yes, that's right.                           20   his wife in Galveston. Kyles, John Kyles.
  21        THE WITNESS: Probably three or four times.            21     Q. And when you say you trained his wife, as a
  22   BY MR. HONNOLD:                                            22   doctor?
  23     Q. Okay. In what kind of cases?                          23     A. Yes.
  24     A. Silicone breast implants, Propulsid. Those are        24     Q. Okay. So you've -- any other -- any other good


                                                 Page 19                                                             Page 21
   1   two that come into mind.                                    1   friends that you have at V&E?
   2      Q. Any other products cases?                             2      A. No. That's been -- that's been over a decade
   3      A. Not off the top of my head, but I've been doing       3   ago, sir. That's been over a decade ago.
   4   this for about 30 years, so I might not be completely up    4      Q. Okay.
   5   to some of the others.                                      5      A. Okay.
   6      Q. You've been doing what for 30 years?                  6      Q. I'll take your word for it.
   7      A. Practicing medicine.                                  7      A. Good.
   8      Q. Okay. And so for how long has it been that            8      Q. Lawyers in New York, who are those?
   9   you've been serving or been willing to serve as an          9      A. My son.
  10   expert witness in a medical legal case?                    10      Q. Okay. Where does he work?
  11      A. I actually did that when I was also in Texas,        11      A. NBC Universal.
  12   when I was at the University of Texas medical branch.      12      Q. So he's a lawyer for -- for the television
  13      Q. In Galveston?                                        13   network?
  14      A. Yes.                                                 14      A. Yes.
  15      Q. Okay. So now can you answer my question? For         15      Q. And lawyers in Texas or Mississippi that you
  16   how long have you been serving as an expert witness in     16   know?
  17   medical legal cases?                                       17      A. That's a long list, but I'll give it to you.
  18      A. Over a period of 25 years.                           18   The mayor of Houston is a friend of mine, Sylvester
  19      Q. So when was -- what was the first type of case       19   Turner. He's also a lawyer. Johnny Gill was a lawyer
  20   where you served as an expert witness in a medical legal   20   in Texas. Covington, Mississippi. Most of the lawyers
  21   case?                                                      21   at Butler Snow. We retain Baker Donelson for our own
  22      A. It would have been in Galveston.                     22   private work.
  23      Q. What type of case?                                   23         There's quite a few. I think the list can be
  24      A. I was working with V&E out of Houston on             24   fairly exhaustive.


                                                                                       6 (Pages 18 to 21)
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   1     Q. Any other law firms here in Jackson that you're      1     A. No.
   2   familiar with?                                            2     Q. Okay. So you first met Christy Jones in work
   3     A. Oh, quite a few.                                     3   that you did on the Propulsid case?
   4     Q. Which ones?                                          4     A. Yes.
   5     A. Felicia Perkins and Associates. Lisa Ross.           5     Q. And then you became her personal friend?
   6   Walker & Walker. Blackmon & Blackmon.                     6     A. Uh-huh.
   7     Q. Ed Blackmon?                                         7     Q. Yes?
   8     A. Yes.                                                 8     A. Yes.
   9     Q. Any firms in Jackson represented you before?         9     Q. And you're still her personal friend?
  10     A. I'm sorry?                                          10     A. Yes.
  11     Q. Any firms in Jackson represented you before?        11     Q. Any other lawyers that you know that work on
  12     A. Yes. Walter Johnson's firm, Watkins & Eager.        12   products cases that you considered as personal friends?
  13     Q. So we'd add them to the list?                       13         MS. HOFFMANN: Objection.
  14     A. Yes.                                                14         MS. WAY: Same. Can we get an agreement on the
  15         MS. HOFFMANN: We're making a list of friends       15     record that an objection for one is an objection for
  16     or just a list of law firms that she's familiar        16     both?
  17     with?                                                  17         MR. HONNOLD: Sure.
  18         THE WITNESS: Yeah, what's the -- how do you        18         THE WITNESS: I have a lot of friends and I
  19     want me to -- I've given you everybody that I know.    19     do -- do have to say that they are lawyers.
  20     Just about.                                            20   BY MR. HONNOLD:
  21   BY MR. HONNOLD:                                          21     Q. Okay. And that's fine. I appreciate that.
  22     Q. We'll call it that. You gave me a list of           22   But I just said --
  23   everybody -- lawyers that you know?                      23     A. Can you just kind of clarify what you're
  24     A. I can probably go -- triple that list if you'd      24   actually saying?


                                               Page 23                                                            Page 25
   1   like.                                                     1      Q. Who are your lawyer friends that you can think
   2          MS. WAY: Where are we going? I mean, are we        2   of that you know that work on products cases?
   3      going to --                                            3      A. You know, Christy does the majority of it.
   4          MR. HONNOLD: I've asked some just very simple      4      Q. What is SEAK?
   5      questions and we've just gotten ourselves into this    5      A. SEAK? It's an agency that does training for
   6      situation, so it's nothing that I'm doing.             6   physicians.
   7   BY MR. HONNOLD:                                           7      Q. What kind of -- so it's an agency. What is
   8      Q. Who are the people at Butler Snow that you          8   your affiliation with SEAK?
   9   know?                                                     9      A. I don't have an affiliation with them.
  10      A. At Butler Snow?                                    10      Q. Okay. Are you listed with SEAK, do you know?
  11      Q. Uh-huh.                                            11      A. Yes, I am. They have a national directory.
  12      A. Christy Jones.                                     12      Q. And so is that the same SEAK that you're saying
  13      Q. Okay. And how do you know Christy Jones?           13   is an agency that trains physicians?
  14      A. We worked on litigation together, and she's a      14      A. Yeah, uh-huh.
  15   personal friend.                                         15      Q. What type of physician training does SEAK do?
  16      Q. Okay. And what litigation did you work on          16      A. They basically have a body of literature on
  17   together with Christy Jones?                             17   depositions, medical expert, things of that nature.
  18      A. Propulsid.                                         18      Q. And what does SEAK train physicians to do?
  19      Q. And how did you become Christy Jones' personal     19      A. Basically, to -- how to be -- how to be well
  20   friend?                                                  20   prepared and how to create documents and do medical
  21      A. We have the same social circles.                   21   expert witness testimony that is appropriate.
  22      Q. And did you know Christy Jones as a friend from    22      Q. And have you participated in that training from
  23   your same social circles before you worked with her as   23   SEAK?
  24   an expert witness?                                       24      A. Yes.


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   1      Q. Okay. And when did you do that?                       1      Q. They're kind of different places. Can you
   2      A. It probably would have been almost seven or           2   remember which one you went to?
   3   eights years ago.                                           3      A. You know, SEAK also has a course on writing for
   4      Q. And what specifically did this training with          4   physicians as a -- fiction and nonfiction writing, and I
   5   SEAK entail?                                                5   remember specifically I went to Massachusetts for that
   6      A. Basically, it was a series of lectures in which       6   particular course. I think that was -- I can't remember
   7   they gave advice on how to look at medical records and      7   the name of the place, but it was where John F. Kennedy
   8   prepare reports in the process of being retained as a       8   was from.
   9   medical expert, but they also did some other things too.    9      Q. Okay. So they give -- they give training or
  10   They had reviews on disability reviews and things of       10   classes to teach doctors how to write books?
  11   that nature.                                               11      A. Yes, absolutely.
  12      Q. And then did you at some point grant SEAK            12      Q. And do you pay?
  13   permission to list your name on the Internet?              13      A. Yes, you do, because you have experts that come
  14      A. Yes, I did.                                          14   in that are authors and they give you literary advice.
  15      Q. So did you sign a document that gave them            15      Q. Who teaches the other classes about how to give
  16   permission to do that?                                     16   a deposition, how to write a report, how to be well
  17      A. They always ask for a profile, and as part of        17   prepared and give good expert testimony?
  18   that you have to submit a signature.                       18         MS. WAY: Objection to form.
  19      Q. And you filled out that profile for SEAK?            19   BY MR. HONNOLD:
  20      A. Yes.                                                 20      Q. Who teaches that?
  21      Q. And this training of SEAK that you went              21      A. Physicians and lawyers.
  22   through, was that something that was done online or by     22      Q. And do you get materials when you go?
  23   video or did you actually go somewhere and attend the      23      A. You can if you want to buy them.
  24   event?                                                     24      Q. I think your SEAK profile says something that


                                                     Page 27                                                       Page 29
   1     A. Physical, physical presence.                           1   says areas of emphasis or expertise and it says pharm or
   2     Q. Okay. Where did you go?                                2   pharma?
   3     A. I think I went to Naples, Florida, or Chicago,         3     A. I don't know what it says. I haven't looked at
   4   one or the other. They kind of rotate according to          4   it. Do you have it?
   5   whether the weather is cold or not.                         5     Q. We'll look at it. When we get to a break, I'll
   6     Q. So have you been -- how do you know that?              6   fire up my computer and get it and we can look at it.
   7     A. Because I see the brochures that are                   7     A. Sure.
   8   circulated.                                                 8     Q. But if it says you're of an area of expertise
   9     Q. Okay. So you're on their mailing list?                 9   or emphasis in pharm or pharma, would that have been
  10     A. Yes.                                                  10   something that you wrote down yourself?
  11     Q. Okay.                                                 11     A. Not necessarily. I need to look at that
  12     A. As are probably half of the physicians in             12   myself.
  13   Jackson.                                                   13     Q. You said that SEAK was an agency. When you
  14     Q. Okay. Why do you say half the physicians in           14   used that term in the context of SEAK, what do you mean
  15   Jackson are listed with SEAK?                              15   by an agency?
  16         MS. HOFFMANN: She said they're on a mailing          16     A. It's a business.
  17     list.                                                    17     Q. And when did you first get connected with SEAK?
  18   BY MR. HONNOLD:                                            18        MS. WAY: Asked and answered.
  19     Q. Oh, half the physicians in Jackson are on the         19        THE WITNESS: I think I answered that I went
  20   mailing list?                                              20     seven years ago, and I also shared with you that I
  21     A. Yes, uh-huh, yeah.                                    21     was -- I received a mailing from it.
  22     Q. And how many times have you gone to SEAK events       22   BY MR. HONNOLD:
  23   in places like Chicago or Naples?                          23     Q. Okay. And so that's how you got hooked up with
  24     A. I think just once.                                    24   them, you responded to a mailing?


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   1      A. Yeah, uh-huh.                                         1         THE WITNESS: That's not a binding thing of
   2      Q. Did anyone go with you on that trip, either to        2      that nature. I filled out paperwork probably seven
   3   Chicago or to Naples or to Massachusetts?                   3      years ago.
   4      A. No.                                                   4   BY MR. HONNOLD:
   5      Q. Do you know any other physicians personally           5      Q. How -- have you ever received contacts or
   6   from the Jackson, Mississippi, area who have ever gone      6   inquiries from lawyers from the SEAK listing?
   7   to that similar training program offered for doctors by     7      A. I have, but they were about disability reviews.
   8   SEAK?                                                       8      Q. Have you ever done disability reviews for
   9      A. It's funny that you should ask that. I had            9   individuals?
  10   lunch with one of my partners who attended.                10      A. No, that's -- I do not do that.
  11      Q. Okay. And which doctor is that?                      11      Q. So you declined when those lawyers contacted
  12      A. It's Dr. Angela Shannon.                             12   you?
  13      Q. And did she just happen to go because she got        13      A. Yes, I did, uh-huh.
  14   the mailing too?                                           14      Q. So have you gotten any other type of inquiry
  15      A. Yes.                                                 15   from your SEAK listing other than these disability
  16      Q. Did she know that you had been before?               16   referrals?
  17      A. Yes.                                                 17      A. I've been asked to review some records.
  18      Q. Had you told -- when you went, had you -- had        18      Q. In what kind of case?
  19   you told her later that you had gone and found it to be    19         MS. HOFFMANN: I'm going to object at this
  20   productive or valuable?                                    20      point, and I'm going to caution the witness that if
  21         MS. HOFFMANN: Objection.                             21      she didn't accept a consultation and she signed any
  22         THE WITNESS: Angela just joined our practice         22      kind of confidentiality agreement in connection with
  23      about two or three years ago, and I went many, many     23      the review of the records and the declination of the
  24      years before that.                                      24      work, she shouldn't talk about it.


                                                Page 31                                                         Page 33
   1   BY MR. HONNOLD:                                             1          MR. HONNOLD: That's not true, legally or
   2      Q. And so before Angela went, did you have any           2      otherwise. That's not true.
   3   conversation with her about it?                             3          MS. HOFFMANN: I think it is.
   4      A. She asked me about how to prepare legal               4          MR. HONNOLD: No, it's not true.
   5   reports, and then that's when I suggested that maybe she    5   BY MR. HONNOLD:
   6   wanted to look at SEAK.                                     6      Q. What kind of case were you asked to review
   7      Q. So you suggested SEAK to her?                         7   records on?
   8      A. No, I just basically said, maybe you want to          8      A. I'm sorry.
   9   look at it, and I think eventually she got some             9          MS. WAY: Objection.
  10   correspondence in the mail.                                10          THE WITNESS: I'm sorry, I'm a little bit
  11      Q. Do you have any affiliation with any other type      11      confused because I understand what she said, and I
  12   of expert witness service or agency?                       12      don't think I should put myself in a precarious
  13          MS. HOFFMANN: Objection.                            13      situation if she -- she's someone I respect. I'm
  14          MS. WAY: Same.                                      14      sorry. I don't know how to answer that.
  15          MS. HOFFMANN: She said she didn't have an           15   BY MR. HONNOLD:
  16      affiliation with them.                                  16      Q. Did you sign a confidentiality agreement?
  17          THE WITNESS: The answer is no.                      17      A. For what?
  18   BY MR. HONNOLD:                                            18      Q. These records that you were asked to review.
  19      Q. When you agreed to allow SEAK to list you, do        19          MS. WAY: Let's back up, Brad.
  20   you -- do you fill out some sort of paperwork that         20          THE WITNESS: Yes.
  21   actually you have to sign and agree to abide by any sort   21          MS. WAY: You asked her a very vague question.
  22   of rules or regulations or to do certain things or to      22          MR. HONNOLD: I did not. I asked her, I said,
  23   not do other things?                                       23      did you get any records, any other inquiries from
  24          MS. WAY: Objection.                                 24      the SEAK listing, and she said --


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    1          MS. WAY: That wasn't your question. She can         1   or four years.
    2      read it back, but trust me, that was not your           2      Q. And were those record reviews done on behalf of
    3      question.                                               3   the plaintiff in the case, the defendant, or was it not
    4          MS. HOFFMANN: That was not your question.           4   disclosed to you?
    5          MR. HONNOLD: That's where it all started.           5      A. It was not disclosed.
    6      Okay. If you're going to object to stuff just like      6      Q. And did you prepare written reports on those
    7      you guys say in depositions, you say "Object to the     7   reviews?
    8      form," and that's what it's all about. Okay? And        8      A. Yes, I did.
    9      I've never sat in a deposition in this case and said    9      Q. And what was your understanding -- for whom did
   10      any other words other than "Object to the form."       10   you prepare the written report? Was it Medical Records
   11          MS. WAY: Brad, we wanted her to be able to         11   Review?
   12      answer the question that she was being asked, and      12      A. Yes.
   13      instead of instructing her not to answer something     13      Q. Was this the sort of thing where you were just
   14      that we weren't clear on. So if your question is       14   doing kind of summaries of -- or chronologies of the
   15      about SEAK, what other records have you been asked     15   records?
   16      to review as a result of your involvement with SEAK    16      A. I was giving an opinion.
   17      or however you word it, that's different than          17      Q. And were you giving an opinion on whether there
   18      instructing her not to answer because of some          18   was a departure from the standard of care?
   19      confidentiality agreement --                           19      A. Yes.
   20          MR. HONNOLD: Just state your objection. She        20      Q. And in any of those cases did you give the
   21      said she was asked to review some records from         21   opinion that you felt that any physician or physicians
   22      another SEAK inquiry.                                  22   departed from the standard of care?
   23          THE WITNESS: No.                                   23      A. They were only --
   24          MS. WAY: No, she didn't. Listen to the             24         (Telephone interruption.)


                                                       Page 35                                                        Page 37
    1     answer.                                                  1        MS. HOFFMANN: It's not me.
    2         MR. HONNOLD: Okay, great.                            2        THE VIDEOGRAPHER: Should we go off the record?
    3   BY MR. HONNOLD:                                            3        MR. HONNOLD: Yeah, let's go off the record.
    4     Q. What records are you talking about? What kind         4        THE VIDEOGRAPHER: The time is 4:46. We're off
    5   of case was it?                                            5     the record.
    6     A. There was a company out of North Carolina             6        (Discussion off the record.)
    7   called Medical Records Review, and not to my knowledge     7        THE VIDEOGRAPHER: The time now is 4:48 p.m.
    8   were they associated with SEAK. So the interest came       8     We are back on the record.
    9   because I do have a Texas license.                         9   BY MR. HONNOLD:
   10     Q. So this company was from North Carolina and          10     Q. Doctor, we're back on the record. We just took
   11   they're called Medical Records Review?                    11   a very short break due to kind of an equipment
   12     A. Medical Records something. I'm not sure of the       12   malfunction.
   13   last part of it. But I don't know of any affiliation      13        I think I had asked you whether you gave the
   14   that they have with SEAK.                                 14   opinion for Medical Records Review that any doctor
   15     Q. And what kind of case was it that they sent you      15   departed from the standard of care?
   16   records on?                                               16     A. My answer was yes. You -- wait a minute. Hold
   17     A. Gastroenterology cases.                              17   on. You asked me if I gave an opinion that they
   18     Q. And when you say "gastroenterology cases," what      18   deviated from the standard of care?
   19   do you mean by that?                                      19     Q. Yes.
   20     A. Those in the area of practice that I -- that I       20     A. And I was about to answer you saying that I had
   21   do.                                                       21   only done about three, and the grading system was that
   22     Q. Okay. And how many cases did Medical Records         22   in the majority of these I graded that there was
   23   Review send you to look at?                               23   minimal, if any, deviation from the standard of care.
   24     A. Oh, probably two or three over the last three        24     Q. Have you ever looked at records related to a


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    1   medical negligence case where you were of the opinion       1   saying active bleeding is active bleeding. You continue
    2   that a physician or other provider departed from the        2   to say pathologic. I'm going to say that it's diseased
    3   standard of care?                                           3   bleeding. It is not normal.
    4      A. I'm sure I have. I'm sure I have. I've looked         4      Q. Meaning that the bleeding isn't normal or that
    5   at several things over the years.                           5   the source or site of the bleeding is not normal?
    6      Q. What sorts of cases that you recall where you         6      A. The condition of bleeding.
    7   felt that a doctor did depart from the standard of care?    7      Q. The label in -- for Xarelto says in its
    8      A. My goodness. That's --                                8   contraindication section, it says active pathological
    9      Q. If you can't remember, that will cut it short.        9   bleeding, so that's where I got this term. I wasn't
   10      A. I can't remember. I really can't.                    10   just making it up. I was wondering -- so as you hear
   11      Q. But you think that you probably did?                 11   the --
   12      A. I can't remember, but probably somewhere in my       12          MS. WAY: Are you going to show her something,
   13   past, possibly.                                            13      Brad?
   14      Q. In this case, based upon the work that you've        14          MR. HONNOLD: Sure. I'll show her exactly what
   15   done, do you feel that all the doctors and health care     15      I'm looking at.
   16   providers complied with the standard of care?              16          (Reeves-Darby Exhibit No. 4 was marked for
   17          MS. WAY: Object to the form.                        17   identification.)
   18          THE WITNESS: In my review of the case, I would      18   BY MR. HONNOLD:
   19      say they were within the standard of care.              19      Q. I'm going to hand you what's the front page of
   20   BY MR. HONNOLD:                                            20   the label September 2015 for Xarelto, and if you look in
   21      Q. Does the term "active pathological bleeding"         21   the contraindication section there on the right, that's
   22   have any meaning to you?                                   22   where that term active pathological bleeding is listed.
   23      A. It's not a term that's commonly used in              23      A. Okay.
   24   gastroenterology.                                          24      Q. So as you see it in that context, what's active


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    1      Q. What does the term "active pathological               1   pathological bleeding mean to you?
    2   bleeding" mean to you when you hear it?                     2         MS. WAY: Object to the form. Just let me --
    3         MS. WAY: Object to form.                              3      hang on one second. Let the record reflect, you
    4         THE WITNESS: I'm not sure. That's not a part          4      have one page there?
    5      of my usual jargon, nor is it for gastroenterology.      5         THE WITNESS: Yes.
    6   BY MR. HONNOLD:                                             6         MS. WAY: Let the record reflect that it's a
    7      Q. So if you were --                                     7      September 2015 label. It appears to be the first
    8      A. I know what active bleeding is.                       8      page.
    9      Q. Okay. What's active bleeding?                         9   BY MR. HONNOLD:
   10      A. Active bleeding is an observed obvious bleeding      10      Q. Do you need some other parts of the label to
   11   from any variety of sources. I just have never heard       11   know what that means?
   12   pathologic and active put together like that.              12      A. No.
   13      Q. So when you hear or see the word "pathological"      13      Q. Okay. So as you see it there, what does that
   14   modify or describe bleeding, does that have any            14   term active pathological -- as you see it there on the
   15   particular meaning to you?                                 15   label, what does active pathological bleeding mean to
   16      A. Actually, the definition of pathology would be       16   you?
   17   abnormal versus normal in most medical fields.             17         MS. WAY: Object to the form.
   18      Q. So abnormal meaning --                               18         MS. HOFFMANN: Objection.
   19      A. Different from normal.                               19         THE WITNESS: It's just like I explained to you
   20      Q. Okay. Diseased?                                      20      earlier. In the context where I look at bleeding
   21      A. Yes.                                                 21      and talk about bleeding, I don't couple it with
   22      Q. So would bleeding from an ulcer, a gastric           22      pathologic active bleeding. We have a different
   23   ulcer, be pathological bleeding?                           23      conversation in gastroenterology. It's just not a
   24      A. You're saying that active bleeding -- I'm just       24      terminology that I usually use, but I can tell you


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    1      what active bleeding is.                                 1   precipitate bleeding," you're saying that it may cause
    2   BY MR. HONNOLD:                                             2   some bleeding to be worse?
    3      Q. Okay. I'm just -- I'm only asking whether             3      A. Yes, it can.
    4   that --                                                     4      Q. Okay. And the process by which it causes or
    5      A. I see it. I basically see it.                         5   can cause some bleeding to be worse is what?
    6      Q. -- as it's listed there in that context of            6         MS. HOFFMANN: Objection.
    7   being on the front page of the label of Xarelto that        7         THE WITNESS: Say that again.
    8   this case is about, does it have any meaning to you?        8   BY MR. HONNOLD:
    9          MS. WAY: Asked and answered.                         9      Q. The process by which it would cause some
   10          MS. HOFFMANN: Objection.                            10   bleeding to be worse is what for Xarelto?
   11          THE WITNESS: Does it have any meaning to me?        11         MS. WAY: Object to form.
   12      Active bleeding has meaning to me.                      12         THE WITNESS: The -- the drug is an
   13   BY MR. HONNOLD:                                            13      anticoagulant, and so its whole action is to inhibit
   14      Q. Okay. So do you have any understanding as to         14      Factor X, one of the parts of the bleeding cascade,
   15   why active pathological bleeding would be a                15      so that's what the utility of the drug is.
   16   contraindication for use of Xarelto?                       16   BY MR. HONNOLD:
   17          MS. HOFFMANN: Objection.                            17      Q. So if there's a site in the body that might be
   18          MS. WAY: Same.                                      18   prone to bleed, that if you add an anticoagulant like
   19          THE WITNESS: Hey, I didn't write the label, so      19   Xarelto to it, it can precipitate bleeding?
   20      I just know that's how I practice gastroenterology,     20         MS. HOFFMANN: Objection.
   21      so --                                                   21         THE WITNESS: What are you talking about when
   22          MS. HOFFMANN: You can't put that back in.           22      you say a site prone to bleeding?
   23      It's an exhibit.                                        23   BY MR. HONNOLD:
   24          MR. HONNOLD: Oh, sorry.                             24      Q. You said that it can --


                                                        Page 43                                                  Page 45
    1   BY MR. HONNOLD:                                             1      A. I'll have to have that read back.
    2     Q. Here, I'll give you the entire thing again. As         2      Q. Before you said that it can precipitate
    3   you see it on the -- on the Xarelto label where it says     3   bleeding?
    4   a contraindication to using Xarelto is active               4      A. I think we need to restate that. She can go
    5   pathological bleeding, to you as a physician, whether or    5   back and --
    6   not you wrote the label, does that have any specific        6      Q. You told me before that the drug can
    7   meaning to you as a doctor?                                 7   precipitate bleeding --
    8        MS. WAY: Asked and answered.                           8         MS. HOFFMANN: Objection.
    9        THE WITNESS: No, it doesn't. It's just listed          9      Q. -- and so in what context, when you say the
   10     as a contraindication.                                   10   drug can precipitate bleeding, what are you talking
   11   BY MR. HONNOLD:                                            11   about?
   12     Q. What is a contraindication?                           12      A. We were talking about -- about bleeding and you
   13     A. Well, a contraindication is something which you       13   asked me about -- can you -- can you restate what you
   14   would want to avoid usage of a particular medication.      14   asked me previously?
   15     Q. Why would somebody want to avoid use of Xarelto       15      Q. I'll just ask you another question.
   16   if a patient has active pathological bleeding?             16      A. That's good. Wonderful.
   17     A. Because the drug could precipitate bleeding in        17      Q. When you said that the drug can precipitate
   18   that person. If they have active bleeding, it could        18   bleeding, what did you mean by that?
   19   delay the clotting of -- of -- of a bleeding source.       19      A. If there is a lesion that is bleeding, it can
   20     Q. Okay. And when you say that the drug could            20   make it worse. Those seem to be my -- the words that I
   21   precipitate bleeding, what's that mean?                    21   used.
   22     A. If bleeding is occurring, it may be prolonged         22      Q. And how does it make it worse?
   23   because of the exposure to the drug.                       23         MS. HOFFMANN: Objection. She just answered
   24     Q. So when you use the term "the drug may                24      that.


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    1   BY MR. HONNOLD:                                             1   patient may cause you to order an INR?
    2      Q. Yeah.                                                 2     A. Well, if a patient has liver disease, that's
    3      A. How many different ways do you want me to             3   probably the most common setting in which I will order a
    4   answer it?                                                  4   PT INR.
    5      Q. I don't know. Is it just because --                   5     Q. And if a patient's taking warfarin?
    6      A. Because I want you to be real clear on my             6     A. I don't usually have to order that.
    7   answer.                                                     7     Q. Okay. Why not?
    8      Q. I do too.                                             8     A. Because the referring physician will usually
    9      A. So I basically went over with you that the            9   have already taken care of that, the physician who
   10   whole role of the drug is to stop clotting, and I          10   prescribed it.
   11   specifically said Factor Xa is the part of the             11     Q. Okay. But if you're going to perform a
   12   coagulation cascade that the drug works on.                12   procedure on a patient that is on warfarin, will you
   13      Q. Okay. So that may cause then bleeding at an          13   have to have some understanding what the patient's INR
   14   area that's prone to bleed to be worse?                    14   is?
   15         MS. WAY: Object to form.                             15     A. They have been discontinued on warfarin if I'm
   16         THE WITNESS: You're talking about prone to           16   doing a procedure on them.
   17      bleed. It usually has to be actively bleeding,          17     Q. And so will you verify what their last INR was
   18      okay, and it probably will not stop because of the      18   before you do the procedure?
   19      Xarelto.                                                19     A. No, sir, not standardly.
   20   BY MR. HONNOLD:                                            20     Q. Are there times when you will, though,
   21      Q. Okay.                                                21   unstandardly?
   22      A. So I'm hoping you're clear on my answer.             22     A. If a patient tells me, "Oh, Doc, I forgot and I
   23      Q. We'll see. We have time. There is still time         23   took warfarin yesterday," I'm going to cancel the
   24   for me to see the light I think.                           24   procedure. I'm not necessarily going to order the labs.


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    1      A. Yes.                                                  1      Q. And in terms of the hospital laboratory that
    2      Q. In your office, do you have a laboratory?             2   you used, do you know what PT reagent the laboratory
    3      A. We just got one in our new office.                    3   used?
    4      Q. Before you got that laboratory in your new            4      A. No idea.
    5   office, if you drew labs or drew blood on a patient, did    5      Q. Okay. And in terms of the laboratory that you
    6   you send it out?                                            6   have now in your office, do you have an analyzer that
    7      A. We'd have to.                                         7   can perform a PT test?
    8      Q. Okay. And what -- when you sent blood out for         8         MS. HOFFMANN: Objection.
    9   testing, what labs did you use?                             9         THE WITNESS: Yes, we do.
   10      A. We used the local hospital's labs in most --         10   BY MR. HONNOLD:
   11   most cases.                                                11      Q. And what kind of machine do you have?
   12      Q. Have you ever ordered a PT test before?              12      A. I have no idea.
   13      A. Usually PT INR.                                      13      Q. Do you know what kind of reagent it uses?
   14      Q. Why do you say usually a PT INR?                     14      A. Not at all.
   15      A. Because the INR is much more relevant to my          15      Q. Don't know what company or brand it is?
   16   clinical practice.                                         16      A. Well, let me tell you, we have three
   17      Q. How so?                                              17   pathologists in our practice that handle all of that.
   18      A. I think it's a better value to follow on my          18      Q. Okay. Is there one of them that's the boss,
   19   patients.                                                  19   the head pathologist, the boss of pathologists at least?
   20      Q. What kind of patients do you say that it's a         20      A. The boss of all bosses?
   21   better value to follow?                                    21      Q. No. The boss of pathologists only?
   22      A. The whole range of gastroenterology patients.        22         MS. HOFFMANN: The bossologist.
   23   I see all kinds.                                           23         THE WITNESS: I like that. We have -- we have
   24      Q. Okay. And why is it -- what about a particular       24      two that I would say are equal, one old, one young.


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    1   BY MR. HONNOLD:                                            1     Q. Okay. So how would going through the documents
    2      Q. What are their names?                                2   that you've reviewed help you tabulate your time?
    3      A. Sam Hensley and Keith Brown.                         3     A. I'm very conscious about how much time I spent
    4      Q. Both MDs?                                            4   on this because I'm very busy, and I have other things
    5      A. MDs.                                                 5   that I do.
    6      Q. Okay. And is there one of them that has more         6            MS. WAY: I think he's just --
    7   expertise in laboratory medicine?                          7   BY MR. HONNOLD:
    8      A. I wouldn't know that.                                8     Q. Okay. I --
    9      Q. You wouldn't know that?                              9            MS. WAY: I think he wants to know the format
   10      A. I would not, ung-ugh.                               10     like you would submit an invoice.
   11      Q. And so did you hire them into your practice         11            MR. HONNOLD: No. That's not what I asked.
   12   once you started having your own in-house lab?            12            MS. WAY: The documents.
   13      A. No, it was -- they were hired before that.          13            MR. HONNOLD: No, that's not what I asked at
   14      Q. Okay. And so where were they doing their            14     all.
   15   review of tissue?                                         15   BY MR. HONNOLD:
   16      A. It's part of our structure, our physical            16     Q. How would looking at the documents that you've
   17   structure.                                                17   reviewed help you tabulate your time?
   18      Q. Okay. So you did have a place where they            18     A. I would say, okay, I spent this much time on
   19   were -- there was some sort of place where they were --   19   the medical records, okay, I've looked at these articles
   20      A. But you were asking about labs, but you didn't      20   this long, or, okay, I've looked at this search engine
   21   let me clarify. We take a lot of biopsy specimens, and    21   this long.
   22   their specific role is to look at the specimens that we   22     Q. When were you first retained in this case?
   23   harvest doing our endoscopic procedures.                  23     A. I think it was the summer of last year.
   24      Q. What was the room or area where they did that       24     Q. So sometime in the summer of 2016 you were


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    1   called before?                                             1   first retained?
    2     A. It's all a part of GI Associates.                     2      A. That's correct.
    3     Q. And is there -- does it say pathology or              3      Q. And how were you first contacted regarding this
    4   something where they would do their work?                  4   engagement?
    5     A. No, we don't have to label it. We know where          5      A. I received a call.
    6   they are.                                                  6      Q. From whom?
    7     Q. Okay.                                                 7      A. Diana Davis.
    8          MS. HOFFMANN: Because they're the bossologist.      8      Q. Who is that?
    9          MR. HONNOLD: Right.                                 9      A. She's an attorney.
   10          THE WITNESS: Yeah.                                 10      Q. Where?
   11          MR. HONNOLD: Right.                                11      A. She's based out of New Jersey.
   12   BY MR. HONNOLD:                                           12      Q. What firm?
   13     Q. Your work on this case, how much time have you       13      A. I think she is through Kaye Scholer.
   14   spent on it?                                              14      Q. How did she get your name?
   15     A. A lot.                                               15      A. She was given my name by a local physician.
   16     Q. Can you be any more specific than that?              16      Q. Who?
   17     A. Probably 50 or 60 hours.                             17      A. Dr. Malcolm Taylor.
   18     Q. Okay. What would you have to do to find out          18      Q. Who is Dr. Malcolm Taylor?
   19   exactly how much you've spent?                            19      A. He is a local physician.
   20     A. I'd have to tabulate all of my time and then         20      Q. How was it that Malcolm Taylor was in contact
   21   see.                                                      21   with Diana Davis to give her your name?
   22     Q. And what would you have to do to tabulate all        22      A. I don't know.
   23   your time?                                                23      Q. Did she -- did Diana Davis say to you at some
   24     A. Go through my documents that I've reviewed.          24   point that she got your name from Dr. Malcolm Taylor?


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    1     A. She basically said, I was given your name and          1   meeting?
    2   basically I don't think she mentioned his name.             2      A. She basically asked me questions about my field
    3     Q. Then how do you know that -- did you learn             3   of medicine and then asked me if I would be interested
    4   later that she had gotten your name from Malcolm Taylor?    4   in reviewing a case related to Xarelto, and mainly the
    5     A. Malcolm texted me and said, hey, I'm going to          5   topic of GI bleeding was what she seemed to focus on.
    6   be giving your name to this lawyer to contact you about     6      Q. Does active GI bleeding exist on a continuum?
    7   a case. I haven't seen Malcolm in probably two years,       7          MS. WAY: Object to the form.
    8   so he just sent me a text out of the blue.                  8          THE WITNESS: What does that mean, sir, when
    9     Q. And how is it that you know Dr. Malcolm Taylor?        9      you say continuum as it relates to active bleeding?
   10     A. Malcolm is a cardiologist at Saint Dominic's          10   BY MR. HONNOLD:
   11   Hospital. That's one of the hospitals that I practice      11      Q. I don't know, like a spectrum from a little to
   12   in.                                                        12   a lot.
   13     Q. And do you have any understanding of how he was       13      A. A little to a lot? I would say that bleeding
   14   in contact with Diana Davis?                               14   does have a spectrum.
   15     A. No, I don't.                                          15      Q. And is that spectrum from a little to a lot?
   16     Q. At some point were you contacted by Diana Davis       16      A. We don't use that terminology.
   17   by telephone?                                              17      Q. Okay. What terminology do you use?
   18     A. Yes, I was.                                           18      A. Minor to major. Minor, moderate, major.
   19     Q. And what information did she provide you during       19      Q. So in terms of active bleeding there can be
   20   that first contact?                                        20   minor active bleeding; right?
   21          MS. WAY: Objection. Instruct not to answer as       21      A. There can be occult, there can be minor, there
   22     far as the substance of any communications that          22   can be moderate, there can be major.
   23     you've had with the attorneys in the case.               23      Q. What's occult?
   24   BY MR. HONNOLD:                                            24      A. Occult is bleeding without an identifiable


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    1      Q. Well, when she first called you, had she              1   source.
    2   retained you yet?                                           2     Q. And when you say "bleeding without an
    3      A. No.                                                   3   identifiable source," does that mean one's not been
    4      Q. Okay. So when she did first call you and you          4   looked for yet and identified or there has been a search
    5   had a discussion before you were officially retained,       5   for a source and not able to be identified?
    6   what did she say to you?                                    6     A. Actually it's both.
    7      A. Very, very casual, brief conversation. It             7     Q. So you can have a patient based upon signs and
    8   might have lasted five minutes at the most.                 8   symptoms where you suspect bleeding is coming from some
    9      Q. Great. What did she say?                              9   site but you can't confirm the site or type of site yet
   10      A. I've got a case that I'd like for you to look        10   because you've not done a diagnostic evaluation for it,
   11   at and that's about it. And then we actually made          11   and you'll call that bleeding occult in that context?
   12   arrangements to meet because she was going to be in this   12     A. Actually, you can have occult bleeding and
   13   area.                                                      13   not -- and you have evidence that there is blood loss,
   14      Q. And then did you meet?                               14   and you don't know where the source is.
   15      A. Yes, we did.                                         15     Q. Yet?
   16      Q. When was that?                                       16     A. Yet.
   17      A. Summer of 2016.                                      17     Q. And so if you have bleeding that you -- that
   18      Q. And at the time that you met, had you already        18   you believe that there is bleeding but you don't know
   19   received some materials on the case?                       19   yet where the source is because you've not looked for
   20      A. No, I had not.                                       20   it, and you do look for it and find the source, then is
   21      Q. And so when you first met with Ms. Davis you         21   that bleeding still occult?
   22   had not reviewed any material related to Ms. Mingo yet?    22         MS. WAY: Object to form.
   23      A. No, sir.                                             23         THE WITNESS: No.
   24      Q. So what did you do or talk about in the first        24   BY MR. HONNOLD:


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    1      Q. Okay. Then what is it called?                        1     today's deposition. The time now is 5:23 p.m. We
    2      A. Occult means you don't know the source, and in       2     are back on the record.
    3   your comment you said that you identified the source.      3   BY MR. HONNOLD:
    4   So those are -- that's -- it is no longer occult if a      4     Q. Doctor, we're back on the record now after a
    5   lesion has been identified.                                5   short break.
    6      Q. Okay. So if a patient has what you believe to        6         We were talking about the time that you spent
    7   be GI bleeding and there is a diagnostic procedure         7   on this case or how you would determine how much time
    8   that's done to try to find the source and it can't be      8   you spent. Do you specifically have time sheets that
    9   found, do you still call it occult bleeding then?          9   you filled out where you actually have archived or
   10      A. If the patient has gone through the normal          10   listed the time that you spent on certain tasks as you
   11   battery of testing for bleeding and no source has been    11   did them, as you did it?
   12   found, yes, we would -- we would categorize that as       12     A. I have it tabulated on little notes.
   13   occult.                                                   13     Q. So, like, sticky notes?
   14      Q. Can occult bleeding also exist on a spectrum or     14     A. No, I don't use sticky notes.
   15   continuum?                                                15     Q. And so where are those notes?
   16      A. We don't use that terminology, but occult           16     A. Something like this, a little three-ring
   17   bleeding is occult bleeding as I previously diagnosed     17   binder, or there might be a time denotation on the top
   18   it. There are different levels of bleeding as I           18   of a document, what time I started, what time I ended.
   19   explained earlier. So I'm -- I just want to be clear      19     Q. And then what would you need to do to turn that
   20   I'm answering your question as you're asking it.          20   into a bill or an invoice?
   21      Q. Well, can occult bleeding be such that it's         21     A. Tabulate.
   22   minor, moderate or major?                                 22     Q. And then will you prepare the invoice yourself
   23      A. I guess it could but that's -- I guess it           23   or will someone do that?
   24   could, we'll say it like that. Until you know the         24     A. I do my own invoicing.


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    1   source of bleeding, all bleeding is occult.                1     Q. What's the last invoice that you prepared on a
    2     Q. And then if you're in a situation where there's       2   medical legal matter?
    3   minor, moderate -- to determine whether occult bleeding    3     A. One of the opinions from medical review out of
    4   is minor, moderate or major, what are the things that      4   North Carolina.
    5   might help you determine that? Laboratory values --        5     Q. And I lost track of the time frame when you
    6     A. The categories? Actually the categorization is        6   said those occurred. How recently would that have been?
    7   how the patient presents clinically, what do you see       7     A. Within the last year.
    8   when that patients comes in for care.                      8     Q. I think you said before that you think you've
    9     Q. Does that include their laboratory?                   9   spent 50 to 60 hours on your work on this case. Is that
   10     A. Laboratory is one parameter, but that's not the      10   a fair statement?
   11   only parameter. It is an additive parameter.              11     A. That's a -- that's an approximation, yes.
   12     Q. So the physical exam would be one other              12     Q. And how would that time break down amongst the
   13   parameter?                                                13   different tasks or things that you did as part of your
   14     A. Vital signs and --                                   14   work?
   15     Q. Vital signs?                                         15     A. Well, the biggest volume would have been the
   16     A. -- physical examination.                             16   medical records, because there was -- there were a lot
   17        MS. WAY: Brad, we've been going for about an         17   of pages to it.
   18     hour. If you're at a stopping point for a break, I      18     Q. So the -- the category that would have the most
   19     could --                                                19   time allocated to it would be review of medical records?
   20        MR. HONNOLD: Sure, yeah.                             20     A. That's what took the most time.
   21        THE VIDEOGRAPHER: The time now is 5:14 p.m.          21     Q. So --
   22     We're off the record.                                   22     A. But there was also time spent in preparing the
   23        (Recess from 5:14 p.m. until 5:23 p.m.)              23   report. There was also time looking at some articles
   24        THE VIDEOGRAPHER: This begins Disk 2 of              24   and doing some searches.


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    1      Q. How much time did you spend preparing your            1      Q. Okay. And then the ones that aren't, where did
    2   report?                                                     2   those articles come from?
    3      A. It probably took me about 10 hours.                   3      A. That's mainly the source, but I think I already
    4      Q. Did you prepare the reference list?                   4   answered that by saying that I got them from -- from the
    5      A. I submitted the reference list.                       5   lawyers.
    6      Q. And how did you arrive at or find the various         6      Q. Okay. And so some of the articles were ones
    7   articles or medical literature that is attached as an       7   that you found in the bibliographies of your UpToDate
    8   exhibit to the report?                                      8   searches for the articles that would kick for
    9      A. Some were given to me by the lawyers and then         9   whatever -- whatever searches that you did, and then
   10   the others were -- were my own.                            10   some of them came from the lawyers; is that right?
   11      Q. And when you say some were your own, what do         11      A. There's a third category also, sir.
   12   you mean by that?                                          12      Q. That's what I'm trying to get to, and so what
   13      A. That means those are the things that I looked        13   was the third category?
   14   at and that I basically investigated myself.               14      A. As I mentioned before, I went to review
   15      Q. Okay. So did you do medical literature search        15   courses, and there's always a big text that goes with --
   16   then to identify certain articles?                         16   with going to review courses, and all of these subjects
   17      A. I did medical literature search to investigate       17   are covered in the field of gastroenterology and
   18   certain topics.                                            18   hepatology, and each lecture has a bibliography attached
   19      Q. Tell me what you mean by that.                       19   to it.
   20      A. Instead of looking at a specific article, I          20      Q. And so are those actual physical paper
   21   might have looked at a search that was entitled            21   resources that you have?
   22   gastrointestinal bleeding.                                 22      A. It's a bibliography, and, yes, you can either
   23      Q. And in what database or source were you doing        23   do it online or with a physical copy of the manual.
   24   these searches?                                            24   Also, mind you, in looking at the reference list you'll


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    1      A. The search was UpToDate.com, but there were           1   see that there was a review that is published by the
    2   other sources that I used also.                             2   American Gastroenterology Association.
    3      Q. Okay. So one source that you used is UpToDate;        3      Q. I'm going to hand you what's been marked as
    4   is that right?                                              4   deposition Exhibit No. 2, which is your report. Let's
    5      A. Yes.                                                  5   go to the reference list, which is included in there.
    6      Q. And do you use UpToDate in your practice?             6          Okay. Can you tell from looking at the
    7      A. I do.                                                 7   reference list, which is Exhibit A to Exhibit 2, can you
    8      Q. And so your subscription, is it yours                 8   tell out of those items that are on the list which ones
    9   personally, or is it something that your group purchases    9   of those were articles that were given to you by the
   10   for everyone?                                              10   lawyers in this case?
   11      A. I have both, and also the hospitals provide it       11      A. The majority of them I probably could.
   12   for us for free.                                           12      Q. Okay. Go ahead.
   13      Q. And so in addition to UpToDate, what other           13          MS. HOFFMANN: How do you want her to do it,
   14   sources did you use to do research?                        14      Brad, just by the items on the side --
   15      A. Oh, I've attended review conferences for             15   BY MR. HONNOLD:
   16   gastroenterology. I have my own clinical practice          16      Q. You can just give me the number -- give me the
   17   experience. I've looked at different topics mostly that    17   number on the reference list, that would be great.
   18   I've been led to from UpToDate.                            18      A. Okay. Let's start with the first page. The
   19      Q. So I want to make sure I understand. So the          19   Abraham article was given, the No. 4, No. 5, No. 6, 7,
   20   specific articles that are listed on your reference        20   8, 9, 10, 11, 13, 14, 16, 20, 21, 22, 23, 24, 25, 26,
   21   list, would many of those be articles that you found       21   27, 28, 29, 30, 34, 35, 36, 37, 39.
   22   that were part of a bibliography of an UpToDate article    22      Q. What about 41?
   23   that you found?                                            23      A. That looks like mine.
   24      A. Some of them would be.                               24      Q. What is it about 41 that makes you know that it


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    1   looks like yours?                                           1      A. Let me explain to you as a gastroenterologist,
    2      A. It's a general article about the diagnosis and        2   we have to have maintenance of certification. That
    3   management of GI bleeding, and it probably is a part of     3   means that we have to keep up-to-date with things that
    4   the articles that I've used.                                4   are changing in our profession. So this is a part of
    5      Q. And I just want to make sure that I'm clear           5   that ongoing education that I've participated in in the
    6   then. The numbers that you just listed in response to       6   last 30 years.
    7   my last question, those numbers that you stated are         7      Q. So --
    8   articles on your reference list that you received from      8      A. So is -- so is No. 2. I'm sorry to interrupt
    9   the lawyers in this case?                                   9   you.
   10      A. To the best of my recall.                            10      Q. No, it's okay. So citation or Reference Item
   11      Q. Which lawyer gave you those articles?                11   No. 2, is that an actual thing that exists somewhere in
   12      A. Ms. Way.                                             12   a book shelf or in a file.
   13      Q. When did you get those articles?                     13      A. It is an extremely large set of volumes. As
   14      A. Probably the fall of last year.                      14   you can see it says DDSEP8. This is the eighth edition
   15      Q. Whose idea was it for the lawyers to send you        15   that came out in 2016, and it is thousands of pages,
   16   articles?                                                  16   photographs, testing, it's an interactive learning tool.
   17      A. Whose idea was it?                                   17      Q. So what's the part of it that you -- chapter
   18      Q. Yes.                                                 18   then, or subpart, that you looked at related to this
   19      A. I don't know whose idea it was. They provided        19   case?
   20   those for me.                                              20      A. Well, you know, it covers every area of
   21      Q. And did you receive them in electronic form or       21   gastroenterology, so as it pertains to this case they
   22   in paper form?                                             22   have sections on GI bleeding, peptic ulcer disease, et
   23      A. A three-ring binder.                                 23   cetera.
   24      Q. Do you still have that binder?                       24      Q. But in terms of the names of the specific


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    1      A. Yes, sir.                                             1   sections or pages you can't be more specific than what
    2      Q. Was there any correspondence that came along          2   you have listed there?
    3   with it?                                                    3      A. That's pretty specific.
    4      A. Not particularly.                                     4      Q. So is that something that's publicly available
    5      Q. Was there even a letter?                              5   either at a medical library or online?
    6      A. Hey, this is a --                                     6      A. No, no, you'll have to pay the $1,000 like I
    7      Q. Hey letter?                                           7   did.
    8      A. Probably a three line letter.                         8      Q. So where do you keep yours?
    9      Q. Do you still have that?                               9      A. At home.
   10      A. It's a part of the binder, yes.                      10      Q. And is it a hardbound book or is it something
   11      Q. Did you do any sort of interlineation or             11   that's in a three-ring notebook?
   12   highlighting or tabbing of the articles in the binder?     12      A. It's both. Hardbound and it's online.
   13      A. Some of those that I read, I usually underline.      13      Q. Then same questions for Reference Item No. 3.
   14      Q. Then let's go back to the reference list then.       14   Is that -- is that a specific thing, either a book,
   15   Can you get that back before you?                          15   something that exists online?
   16         So Reference Item No. 2, is that something that      16      A. You have to understand when recertification,
   17   before you were retained in this case you already -- you   17   what it says is that I have been tested and I have been
   18   already had in your possession?                            18   approved for continuation of my board -- board
   19      A. Yes.                                                 19   certification. That is the actual test that I took.
   20      Q. And same question for No. 3, is that something       20   There are study materials that go along with
   21   that either you already had in your possession when you    21   recertification, and Reference No. 2 is one of those.
   22   were retained or it was something that you got             22      Q. Reference Item No. 3, what is it?
   23   possession of as part of attending a seminar or            23      A. It's my board certification. It's actually a
   24   something?                                                 24   piece of paper that I frame and hang on my wall, but it


                                                                                   18 (Pages 66 to 69)
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    1   represents having successfully taken an actual physical     1       Q. In the UpToDate box, after you log in and
    2   test. It means I've passed my recertification boards.       2   there's the box there and you put in -- what words did
    3     Q. So what would I go to if I wanted to know what         3   you put in to find these articles?
    4   you looked at in terms of your work on this case for        4       A. Management of anticoagulants in patients. This
    5   Reference Item No. 3? Where would I go to or what would     5   is -- had you put in endoscopic procedures, GI bleeding,
    6   I look at?                                                  6   anticoagulants, and just like any other search engine it
    7     A. That generally relates to my certification.            7   will take you to a whole pull down that has a menu of
    8   You could go to the American Board of Specialty             8   things that you can select to choose to read.
    9   Certification, American Board of Internal Medicine.         9       Q. I gotcha. But after the author, that is the
   10     Q. So Reference Item No. 3 is the certificate            10   title of the actual article; right?
   11   that's hanging on your wall?                               11       A. In one of my searches this is one of the
   12     A. It's a part of the body of material that I            12   articles that I did look at.
   13   looked at to maintain certification. I basically           13       Q. Okay. So what were the search terms that you
   14   categorized it like this because it has to do with the     14   used?
   15   studies that I did over a period of time leading up to     15       A. I probably started off with GI bleeding.
   16   that examination.                                          16       Q. And then how did you --
   17     Q. But what is that stuff, though? Where would I         17       A. I might have crossed it --
   18   go to find it or look at it?                               18       Q. -- then refine the search?
   19     A. It's pretty diffuse.                                  19       A. I might have crossed it with anticoagulants and
   20     Q. Do you have it?                                       20   then again you get the menu that has the pull down of
   21     A. I have my certificate.                                21   topics.
   22     Q. Okay. So in terms of what you're talking about        22       Q. And then for all the specific articles that you
   23   then for Reference Item No. 3, other than the              23   found and relied upon in some way, are they listed on
   24   certificate what is it?                                    24   the reference list?


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    1      A. It's proof that I sat and passed the                  1      A. Yes, sir.
    2   examination.                                                2      Q. And then so on the last page then, Item No. 42,
    3      Q. Number 15, was that something that you had in         3   for example, you say "UpToDate: Numerous searches of
    4   your possession before you were retained in this case or    4   related topics"?
    5   did you search for it and/or did you find it as a result    5      A. Absolutely.
    6   of some search you did after you were retained?             6      Q. Is that referring to something other than the
    7      A. Before.                                               7   things you might have listed specifically?
    8      Q. And so the things that you had before, did you        8      A. Well, to be inclusive I put it in this, this
    9   have those existing in some medical literature file,        9   form because if I searched GI bleeding, if I read
   10   either paper file or electronic?                           10   something that was a subtitle and then I went to
   11      A. No, not specifically. No, I would have used          11   something else and then I shut down the search engine
   12   them in maybe creating a talk. It would have been a        12   that night, I would have not probably picked up on the
   13   basis for a lecture or something of that nature.           13   same title if I went to search another topic. So there
   14      Q. But did you have a copy of it, though,               14   was a wide variety of things that I looked at.
   15   somewhere?                                                 15      Q. Okay. I get that, but if you found a specific
   16      A. At some point, yes.                                  16   article on UpToDate that you said, yes, this is good,
   17      Q. Okay. When you -- when you list, for example,        17   I'm relying upon it in some way and I'm going to go put
   18   No. 17, when you list an UpToDate article, does that       18   it on the reference list, is everything on here?
   19   mean specifically that you did read that article and       19      A. Probably not, but the majority of them are.
   20   there's something in that article that you are relying     20   Those that I rely upon that I found to be interesting,
   21   upon for an opinion or opinions in this case?              21   yes.
   22      A. This is basically a title that was put in the        22      Q. Okay. I just want to know are there some
   23   search engine for UpToDate, and that produced an article   23   specific ones that when you testify at trial in this
   24   that had a bibliography associated with it.                24   case you're going to say I'm particularly relying upon


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    1   this item for an opinion in this case that's not            1      A. Yes.
    2   specifically listed?                                        2      Q. Then No. 19, what is that?
    3      A. The main 42 kind of encompasses that, but I've        3      A. This is the previous board review that I
    4   tried to be as complete as I could.                         4   attended in 2014. I do those on a fairly regular basis
    5      Q. Okay. Are there other specific UpToDate               5   to keep my medical acumen up-to-date.
    6   articles that you're relying upon for your opinions in      6      Q. Your what?
    7   this case other than ones that you've specifically          7      A. My medical acumen up-to-date.
    8   listed?                                                     8         MS. HOFFMANN: Did you purposefully skip 15?
    9      A. Those are the main ones.                              9         MR. HONNOLD: Oh, I didn't purposefully.
   10      Q. Okay. Are there others?                              10         THE WITNESS: He did relate to 15. He made a
   11      A. There could possibly be.                             11      comment about it.
   12      Q. Okay. What are they?                                 12         MR. HONNOLD: So no.
   13      A. Well, as I tried to make clear to you, if I'm        13         MS. HOFFMANN: Sorry.
   14   doing a search, it's just like a Google search, if I       14         MR. HONNOLD: We talked about it.
   15   started out reading one topic, I might have been carried   15         MS. WAY: Did you skip 12?
   16   to another place and so -- but the ones that I did focus   16   BY MR. HONNOLD:
   17   on are included in this list.                              17      Q. 12 is an UpToDate article. So you would have
   18      Q. Can we all agree if she refers to some               18   found that as part of your work on this case; correct?
   19   literature some day that's not listed on the reference     19      A. That's correct, uh-huh.
   20   list that you'll let me know?                              20      Q. Then No. 31 and 32, those are UpToDate
   21      A. I'll be glad to. I have no problem with that.        21   articles, so you would have found those on your own;
   22      Q. You'll be glad to?                                   22   correct? Right?
   23      A. Yeah, uh-huh.                                        23      A. Yes.
   24      Q. Number 18, is that something that you had            24      Q. 33 also is an UpToDate article, so you would


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    1   before you were retained? It looks like by date you         1   have found that on your own?
    2   would have gotten it probably afterwards, but --            2      A. That's correct.
    3       A. I participated in that. I physically went to         3      Q. And 38, you would have found that on your own?
    4   that review course.                                         4      A. That's correct.
    5       Q. And is it a thing in terms of actual materials       5      Q. Number 40, you would have found that on your
    6   that you received?                                          6   own?
    7       A. Yes.                                                 7      A. Yes.
    8       Q. Okay. What is it?                                    8      Q. The material that's represented by Items 43 to
    9       A. It's a review just like the -- it's a set of         9   47, would those have been things that were provided to
   10   volumes that have to do with a board review course.        10   you by counsel since they're medical records and
   11   It's a five day course in a hotel in Chicago, and          11   depositions?
   12   actually I signed up for that before I even knew about     12      A. Yes. Actually, all the way through 48.
   13   this litigation. Again, it's a part of the                 13      Q. Was the label provided to you by counsel?
   14   recertification process that I'm required to do.           14      A. Yes.
   15       Q. Okay. And so do you have those volumes in your      15      Q. Do you routinely in your practice prescribe
   16   possession?                                                16   anticoagulants?
   17       A. I do.                                               17      A. No, sir.
   18       Q. And are they hardbound books? Are they              18      Q. Do you ever have occasion in your practice now
   19   three-ring binders? What are they?                         19   to prescribe anticoagulants?
   20       A. They're both. They're hardbound, and then           20      A. No, sir.
   21   they're also online.                                       21      Q. Do you ever on occasion for any of the
   22       Q. And I take it you have to participate in the        22   procedures that you perform need to give a patient
   23   course or class and pay some amount of money to get        23   bridging anticoagulant therapy with Heparin or some
   24   access to those?                                           24   other drug?


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    1     A. That's usually done by the referring physician.        1   she started taking Xarelto, what was the cause of that
    2     Q. What are the types of procedures that you do           2   anemia?
    3   where you -- where the patient would be bridged using       3     A. I don't know.
    4   some other anticoagulant?                                   4     Q. For a patient like Ms. Mingo, what were the
    5     A. Every procedure that's endoscopic would -- the         5   possible causes or explanations of that anemia that she
    6   referring physician would have to give approval for         6   had?
    7   bridging, and they would be the ones that would actually    7     A. Well, she was a postmenopausal woman, as I
    8   coordinate the bridging of the anticoagulant.               8   alluded to. Had she been a woman who was having menses,
    9     Q. But just based upon your clinical practice and         9   it would be obvious blood loss from her -- from her
   10   experience, what are the -- what are the types of          10   menstrual cycle, but she was out of that age group. So
   11   patients and procedures where a patient might be --        11   I really don't know what the source of her anemia was.
   12   might be bridged with some anticoagulant during the        12     Q. And for a woman like -- are you board certified
   13   procedure?                                                 13   in internal medicine?
   14     A. Okay. Let me go through it. Endoscopic                14     A. I'm board eligible.
   15   ultrasonography, esophagogastroduodenoscopy,               15     Q. Have you ever board certified in internal
   16   colonoscopy, ERCP, ERCP with sphincterotomy, ERCP with     16   medicine?
   17   biliary stenosis and dilatation. Just about all of         17     A. Yes.
   18   them.                                                      18     Q. Okay. And during what years were you board
   19     Q. Okay. And what is bridging with an                    19   certified in internal medicine?
   20   anticoagulant and why is it done?                          20     A. I was board certified after I completed my
   21        MS. HOFFMANN: Objection.                              21   residency.
   22        THE WITNESS: Bridging means that a person has         22     Q. And have you ever become recertified in
   23     discontinued one anticoagulant, but because of a         23   internal medicine.
   24     predetermined medical condition they might need to       24     A. It has not been necessary.


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    1      be on Heparin or something else as close to that         1      Q. When were you no longer board certified in
    2      endoscopic procedure as possible, therefore,             2   internal medicine?
    3      reducing the time that they are not anticoagulated.      3      A. I let my certification lapse I think when I had
    4   BY MR. HONNOLD:                                             4   been practicing for the first 10 years. Certification
    5      Q. And then are you actually involved in yourself        5   does last 10 years.
    6   ever in ordering the agent that's used for bridging, or     6      Q. And was there a reason why you did not seek
    7   is that always the referring doctor?                        7   recertification in internal medicine?
    8      A. I answered that.                                      8      A. I had gone on to do specialized training in
    9      Q. It's the referring doctor?                            9   gastroenterology.
   10      A. That's correct.                                      10      Q. So based upon your training, education and
   11      Q. The structure and I guess layout of your             11   experience and the medical records and other materials
   12   report, was that something that you came up with and       12   that you've reviewed regarding Ms. Mingo, what are the
   13   arrived at on your own?                                    13   possible explanation or causes of this anemia that you
   14      A. I did that.                                          14   say that she had before she started taking Xarelto?
   15      Q. And Ms. Mingo, one of your case specific             15      A. Speculatively, looking at her medical records,
   16   opinions you say that she had anemia before she was        16   she had been exposed to nonsteroidals and aspirin. She
   17   taking Xarelto. What was the cause of that?                17   also had some other chronic medical conditions that
   18      A. Can you show me where you're referring to?           18   were -- that were present.
   19      Q. Sure. Page 8 in Exhibit 2.                           19      Q. When a patient is taking an NOAC medication
   20      A. Which paragraph, sir?                                20   like Xarelto and then aspirin is added to it, what does
   21      Q. Well, you have a heading that says Ms. Mingo         21   that do in terms of the quantification or increased risk
   22   had anemia before taking Xarelto. Do you see that?         22   of gastrointestinal bleeding?
   23      A. Yes.                                                 23         MS. WAY: Objection.
   24      Q. So the anemia that you say Ms. Mingo had before      24         THE WITNESS: Restate that, please.


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    1   BY MR. HONNOLD:                                             1   much as double the patient's risk of gastrointestinal
    2      Q. Sure. If a patient is on a NOAC and then              2   bleeding?
    3   aspirin is added to it, what does that do in terms of       3         MS. HOFFMANN: Objection.
    4   the patient's risk of gastrointestinal bleeding?            4         THE WITNESS: I think you're asking me the same
    5      A. They can be additive.                                 5     question and I can't answer that.
    6      Q. How much?                                             6   BY MR. HONNOLD:
    7      A. I don't know.                                         7     Q. You don't know one way or the other?
    8      Q. If any of the materials that you put on your          8     A. I basically said that I take care of a range of
    9   reference list state that, do you have any reason to        9   patients and it has to do with the comorbid diseases
   10   disagree with what it states?                              10   that the patient has.
   11          MS. HOFFMANN: Objection.                            11     Q. Are you aware then of patients that could have
   12          THE WITNESS: If any materials on my reference       12   a certain presentation or type of comorbid conditions
   13      list state that, state what?                            13   that when they're taking -- when aspirin is added to a
   14   BY MR. HONNOLD:                                            14   NOAC that it could double their risk of gastrointestinal
   15      Q. State a specific quantification of how much the      15   bleeding, can that happen in some patients?
   16   risk is increased when you add aspirin to a NOAC?          16         MS. WAY: Object.
   17      A. It depends upon the clinic setting. You can          17         MS. HOFFMANN: Objection.
   18   have healthy people or people with comorbid diseases.      18         THE WITNESS: You keep referring to doubling,
   19   So I don't think I could just say that as a global         19     and that's not the conversation that we have in my
   20   statement.                                                 20     particular area of expertise. We don't talk about
   21      Q. Okay. So how -- how can that risk -- how does        21     doubling. We talk about additive risk, but, again
   22   it vary then?                                              22     as I kind of keep returning to, it depends upon what
   23      A. How does it vary? It depends --                      23     other comorbid diseases the patient has.
   24      Q. In the subgroups of patients that you've said?       24   BY MR. HONNOLD:


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    1     A. It depends upon the disease that the patient           1     Q. Okay. So do you have any idea then why authors
    2   has. Say if they have liver disease and they're on an       2   that have written the articles that are on your
    3   anticoagulant and then they're also on aspirin, well, I     3   reference list might specifically state that adding
    4   don't think I can quantify that. It depends upon what       4   aspirin to a NOAC can double the risk of
    5   other comorbid positions that the patient has, so --        5   gastrointestinal bleeding?
    6     Q. Okay. So for -- for the patients that you're           6     A. It has to do with what other conditions they're
    7   aware of that you frequently see, then what is kind of      7   looking at.
    8   the range then of the additive effect that giving           8     Q. So in some patients it may be possible that
    9   aspirin to a patient on a NOAC can have, from what to       9   there is a doubling of the risk; is that right?
   10   what?                                                      10         MS. HOFFMANN: Objection.
   11     A. That's -- that's such a broad statement, and I        11         MS. WAY: Objection.
   12   see such a broad category of population of patients that   12         THE WITNESS: Actually that was what I was
   13   I don't think that I can answer that with some merit.      13     saying. It depended upon what comorbid diseases
   14     Q. Do you know about any statements that the             14     that the patient has.
   15   articles on your reference list state in that regard?      15   BY MR. HONNOLD:
   16     A. I have to ask you specifically which one you're       16     Q. So let's just talk about a patient that's
   17   talking about.                                             17   generally in good health other than the fact that they
   18     Q. Any of them. As you look at your reference            18   might have had a hip replacement and then developed a
   19   list, do you know whether any of them speak to that        19   DVT afterwards and are put on -- in addition to their
   20   issue?                                                     20   preexisting aspirin, they're put on a NOAC. Do you have
   21     A. I'm not exactly sure.                                 21   any view as to what that combination does in terms of
   22     Q. Okay. In some patients, can adding aspirin to         22   increasing the patient's risk of gastrointestinal
   23   a patient that's on a NOAC or vice versa, adding a NOAC    23   bleeding from just as compared to being on aspirin
   24   to the patient that's on existing aspirin, can that as     24   alone?


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    1     A. Restate your question. There were a lot of             1   characteristically would look at.
    2   parts to it.                                                2      Q. Okay. And so if she just -- if there were
    3     Q. Okay. So in the scenario of a patient that's           3   times when she did have a PT that was done, would you
    4   generally in good health, except for the fact they've       4   have commented on that in your recitation or medical
    5   had recent hip surgery and after the surgery developed      5   kind of chronology or overview of her records that you
    6   proximal DVT and as a result they're put on a NOAC and      6   did?
    7   they've been on preexisting aspirin. In a patient like      7      A. It's possible, but, again, I pay a lot of
    8   that, do you have any idea what the addition of the NOAC    8   attention to the PT INR.
    9   does to that patient's risk of gastrointestinal bleeding    9          MS. HOFFMANN: Did you want her to look, is
   10   as compared to the patient only being on aspirin?          10      that the idea?
   11         MS. HOFFMANN: Objection.                             11          MR. HONNOLD: Sure, she can.
   12         MS. WAY: Objection.                                  12          MS. HOFFMANN: I just want to make sure I'm
   13         THE WITNESS: No, I don't.                            13      clear, Brad. So you want her to look in the report
   14   BY MR. HONNOLD:                                            14      and see if she made any comment about a PT test?
   15     Q. Would you at least agree though that there            15          MR. HONNOLD: Yeah, if she needs to look at it,
   16   would be some additive effect?                             16      she can. It doesn't matter to me whether she looks
   17     A. Possibly.                                             17      at it or not if she answers the question.
   18     Q. Do you know of the articles that are on your          18          THE WITNESS: Do you want me to take the time
   19   reference list whether any of them speak specifically to   19      to do that? Because I can read it and find out if
   20   the issue of whether the anticoagulant effect that         20      you'd like to take that time. I don't have a
   21   Xarelto is having on the patient can be tested or          21      problem with that.
   22   measured?                                                  22
   23     A. I'm sure they probably do, but I'm not here to        23   BY MR. HONNOLD:
   24   speak on that issue.                                       24    Q. As you sit here now before you look at it, do


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    1      Q. Why are you sure that they probably do?               1   you know whether she had any PT tests that were done
    2          MS. WAY: Objection.                                  2   along the way?
    3          THE WITNESS: Because there's -- there are a          3         A. In her medical records, yes, she did, but you
    4      lot of articles there that look at the study of the      4   asked about my report, and I want to be very clear that
    5      drug.                                                    5   I'd have to reread the report to see if I commented on
    6   BY MR. HONNOLD:                                             6   it.
    7      Q. So I just want to make sure I'm clear about           7         Q. Do you know whether Ms. Mingo had a PT done
    8   this. So you are -- today it's your testimony that          8   when she came into the hospital on February 13?
    9   you're sure that there are some of the articles on your     9         A. On February 13, let me just look at that, sir.
   10   reference list that speak to how the anticoagulant         10   This was when she was in the emergency room, correct?
   11   effect of Xarelto on a patient can be tested or            11         Q. Right, that hospitalization.
   12   measured?                                                  12         A. Yes.
   13      A. That -- that was referred to, I think, on some       13         Q. Did she have a PT, or do you know whether a PT
   14   of the articles.                                           14   was done?
   15      Q. Do you know which ones?                              15         A. I said yes, I did answer you.
   16      A. It might have been on the label, sir.                16         Q. Okay. And what was it?
   17      Q. Are there any of the items on your reference         17         A. I have to look at the actual records.
   18   list that you can think of other than the label that       18         Q. Okay. Is it listed though -- you said you
   19   might speak to that issue?                                 19   needed to look at your report, and I just wanted to know
   20      A. I'm not -- I'm not sure.                             20   if it was mentioned in there.
   21      Q. In anywhere in your report did you note or           21         A. I'm sorry. If you look at page 5, I think I
   22   comment on what the results were of any PT testing that    22   started talking about what was happening with Ms. Mingo
   23   was done on Ms. Mingo at any point in time?                23   on 2/3/15, and I refer to some lab values, specifically
   24      A. I probably referred to PT INR. That's what I         24   the hemoglobin, and then later on I refer to the


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    1   hemoglobin on page 6. So I don't know the actual values     1   BY MR. HONNOLD:
    2   of the PT during that time, but I'm sure that one was       2      Q. If a patient on rivaroxaban has a significantly
    3   done. It would have been part of the standard of care.      3   elevated PT value, what does that mean or what is the
    4      Q. Why?                                                  4   significance of that?
    5      A. She came in with evidence of anemia and               5         MS. HOFFMANN: Objection.
    6   bleeding.                                                   6         THE WITNESS: I've answered it in your previous
    7      Q. Okay. And why would the standard of care              7      questions, but I'm going to be very clear with you
    8   require a PT to be performed on a patient like that?        8      that you would get the PT INR regardless of the
    9         MS. WAY: Object to form.                              9      source of bleeding. That's what I said previously.
   10         THE WITNESS: Basically, it's one of the              10   BY MR. HONNOLD:
   11      measures of the body's ability to clot blood.           11      Q. What is the significance, though, of a patient
   12   BY MR. HONNOLD:                                            12   on rivaroxaban who has a significantly elevated PT?
   13      Q. What if the patient's on rivaroxaban or              13      A. It doesn't have any significance.
   14   Xarelto?                                                   14      Q. Meaning it's of no -- it's of no value, it
   15      A. It doesn't matter. You're going to --                15   provides no information?
   16      Q. It doesn't?                                          16      A. You're asking about specifically for the
   17      A. It's a basic -- it's a basic standard for            17   Xarelto, and I think I answered that.
   18   any -- anyone in this setting.                             18      Q. You didn't. What's the -- what -- here's what
   19      Q. So even if the patient is on rivaroxaban then        19   I'm trying to --
   20   the PT is still giving you information about the           20      A. I said it was clinically -- I said it was not
   21   patient's ability to clot their blood?                     21   clinically relevant. I'm trying to understand anything
   22         MS. WAY: Object to form.                             22   else, but what else do you want to know?
   23         THE WITNESS: You're trying to specify it for         23      Q. Here's the question: So if a patient on
   24      that, but it doesn't matter the source of the           24   rivaroxaban has a significantly elevated PT test, what


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    1      bleeding. That's a standard of care.                     1   is the significance or meaning of it?
    2   BY MR. HONNOLD:                                             2         MS. HOFFMANN: Objection.
    3      Q. Okay. But the PT gives information about              3         THE WITNESS: It has -- it has -- I'm sorry.
    4   measuring the body's ability to clot their blood; right?    4         MS. HOFFMANN: Go ahead.
    5         MS. WAY: Object to the form.                          5         THE WITNESS: If the patient is on Xarelto, the
    6         THE WITNESS: It's one of many.                        6      PT INR basically doesn't have any clinical
    7   BY MR. HONNOLD:                                             7      relevance, but it may give some suggestion of
    8      Q. And if a patient's on Xarelto and has a               8      another cause of bleeding.
    9   significantly elevated PT, what is the significance of      9   BY MR. HONNOLD:
   10   that or what does that mean?                               10      Q. So if a patient's on rivaroxaban and has a
   11         MS. WAY: Objection. Brad, I think she                11   significantly elevated PT test then, is it some other
   12      already -- I can -- she --                              12   medical condition that's causing it to be elevated other
   13         MR. HONNOLD: You can object to the form.             13   than the rivaroxaban?
   14         MS. WAY: Yeah.                                       14      A. The patient could also --
   15         MR. HONNOLD: No, no, no. You've just got to          15         MS. WAY: Object to the form. Sorry.
   16      object to the form of the question.                     16         THE WITNESS: I'm sorry. I apologize for that.
   17         MS. WAY: I object to the form. She's already         17         If the patient has some underlying
   18      said --                                                 18      coagulopathy, if the patient has some type of liver
   19         MR. HONNOLD: No, no --                               19      disease or even if the patient is on Coumadin, those
   20         MS. WAY: -- she wasn't going to offer opinions       20      things can cause the PT INR to be elevated.
   21      on this.                                                21   BY MR. HONNOLD:
   22         MR. HONNOLD: You just -- just object to the          22      Q. Can rivaroxaban itself cause the PT to be
   23      form of the question. You know, you know that.          23   elevated?
   24         THE WITNESS: Restate your question.                  24      A. Not where it's clinically relevant.


                                                                                   24 (Pages 90 to 93)
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    1     Q. And what does that mean, "not where it's               1      all, I already told you that I don't prescribe it,
    2   clinically relevant"?                                       2      but the literature suggests that it's not clinically
    3     A. It's something that normally we don't really           3      relevant. I think I've said that about seven
    4   give much credence to when we're managing a patient with    4      different ways.
    5   GI bleeding.                                                5   BY MR. HONNOLD:
    6     Q. So as it relates to a patient that's on                6      Q. Okay. I get it, but here's -- here's my
    7   rivaroxaban then, your testimony is that that patient's     7   question for you: Based upon your training --
    8   PT test does not have any clinical relevance to their       8      A. You get it?
    9   care and treatment?                                         9      Q. What?
   10     A. The bottom line is the patient is bleeding,           10      A. You said you got it? I'm trying to figure out
   11   mand it's one of the baseline laboratories that we get     11   how did I -- how did I not say it? I just wanted my
   12   whether they're on an anticoagulant or not.                12   answer to be clear to you.
   13     Q. Okay. So in a patient that's on rivaroxaban           13      Q. You done?
   14   and has a significantly elevated PT, can the rivaroxaban   14      A. Yes.
   15   itself be the cause of that elevated PT?                   15      Q. Okay. Based upon your training, education, and
   16     A. Regardless of whether they're on rivaroxaban or       16   experience and the materials that you've reviewed in
   17   not, we get it as part of the standard of care. I've       17   this case, if a patient is given rivaroxaban, do you
   18   already answered that the rivaroxaban and the PT INR are   18   expect there to be a resultant increase in the patient's
   19   not clinically relevant.                                   19   PT level?
   20     Q. Okay. I appreciate what you're telling me, but        20          MS. HOFFMANN: Objection.
   21   you're not answering my question. If you don't know the    21          THE WITNESS: Not necessarily.
   22   answer to it, you can tell me that too.                    22
   23     A. I answered it the best that I could, sir.             23   BY MR. HONNOLD:
   24     Q. Okay. So let me -- let me -- let's try it             24    Q. Can giving a patient rivaroxaban cause an


                                                         Page 95                                                       Page 97
    1   another way.                                                1   increase in their PT?
    2     A. Okay.                                                  2        MS. WAY: Objection. Asked and answered.
    3     Q. So if you give a patient rivaroxaban, do you           3        You can go ahead if you want to enlighten him
    4   expect there to be a resultant increase in that             4     again.
    5   patient's PT as a result of taking rivaroxaban?             5        THE WITNESS: Restate the question, please.
    6         MS. HOFFMANN: Objection.                              6   BY MR. HONNOLD:
    7         MS. WAY: Objection.                                   7     Q. Can giving a patient rivaroxaban cause an
    8         THE WITNESS: I don't prescribe rivaroxaban.           8   increase in their PT?
    9         MS. HOFFMANN: She's answering your questions          9     A. Not necessarily.
   10     about a bleeding patient, and you've changed the         10     Q. Can it?
   11     question to just a patient on rivaroxaban.               11     A. Not necessarily, sir.
   12         MR. HONNOLD: Yeah, but I never asked that            12     Q. Is it possible?
   13     question.                                                13     A. It is not something that's clinically followed
   14         MS. HOFFMANN: You did in the --                      14   or relevant.
   15         MR. HONNOLD: She brought it up.                      15     Q. If you look at -- go back and look at the label
   16         MS. HOFFMANN: No, in the beginning --                16   for Section 12.2, Section 12.2, pharmacodynamics, will
   17         MR. HONNOLD: Just object. Okay?                      17   you refer to that section, please? Do you want to go
   18   BY MR. HONNOLD:                                            18   ahead and read Section 12.2?
   19     Q. Here's my question for you: If you give               19     A. "Dose-dependent inhibition of X -- of FXa
   20   rivaroxaban to a patient, do you anticipate or expect      20   activity was observed in humans and the Neoplastin
   21   that patient to have an increase in their PT?              21   prothrombin time (PT) activated partial prothrombin time
   22         MS. HOFFMANN: Objection.                             22   (aPTT) and HepTest are prolonged dose-dependently.
   23         MS. WAY: Objection.                                  23   Antifactor Xa activity is also influenced by
   24         THE WITNESS: Do I expect it? Well, first of          24   rivaroxaban."


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    1     Q. What does that mean?                                  1   to any medicine if you give a little bit it may have a
    2         MS. HOFFMANN: Objection.                             2   little effect, but if you give a lot it has more of an
    3         MS. WAY: Same.                                       3   effect, what do you mean by that?
    4         THE WITNESS: I'm not an expert on                    4           MS. WAY: Objection.
    5     pharmacodynamics, sir, I'm sorry.                        5           THE WITNESS: Well, you're -- okay. If I give
    6   BY MR. HONNOLD:                                            6       you a little bit of arsenic, it won't kill you. But
    7     Q. So when you as a -- as a board certified              7       if I give you a lot over time it will. So the more
    8   gastroenterologist with some 30 years of clinical          8       that a medication is increased, you can have adverse
    9   experience, as you read Section 12.2 are you unable to     9       effects from it.
   10   understand what -- or articulate what that means?         10   BY MR. HONNOLD:
   11         MS. WAY: Object to form.                            11       Q. Okay. And can how much medication then a
   12         MS. HOFFMANN: Objection.                            12   patient has, can it be -- can you measure that in the
   13         THE WITNESS: I read a lot of medical                13   bloodstream by figuring out what their plasma
   14     literature, sir, so I would say that I understand       14   concentration is?
   15     what this means, but there are key things about this    15       A. It depends. That's a part of research that's
   16     statement that need to be focused on. Would you         16   done by those that are studying that particular agent.
   17     like for me to review those for you?                    17       Q. Okay. So for some of those drugs you're
   18   BY MR. HONNOLD:                                           18   talking about like arsenic or whichever ones you had in
   19     Q. I just asked you what that section meant.            19   mind other than poisons, if the plasma concentration of
   20     A. There's a --                                         20   the drug goes up, then can its -- can its effects or
   21     Q. And then you said you aren't an expert in            21   adverse effects also go up?
   22   pharmacodynamics.                                         22           MS. HOFFMANN: Objection.
   23     A. That's right, because there is -- this is a          23           MS. WAY: Same.
   24   general statement that has to do with the label.          24           THE WITNESS: That's possible.


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    1   There's a key phrase here, though, and I'll bring it to    1   BY MR. HONNOLD:
    2   your attention. It says dose-dependent, and that's         2       Q. Okay. And why is it that that's possible?
    3   pretty significant.                                        3       A. Well, that's the basis of doing research on
    4      Q. Okay. What does 12.2 mean?                           4   drugs. You want to see how safe a drug is.
    5      A. I'm not a --                                         5       Q. So when you read Section 12.2 now kind of in
    6      Q. Even taking dose-dependent into account?             6   light of the explanation that you've given me, what is
    7      A. I'm not really here to discuss the                   7   it the -- what does Section 12.2 suggest about the
    8   pharmacodynamics. I'm just not that expert.                8   relationship between taking rivaroxaban and the PT?
    9      Q. Okay. Then when it -- you made a big point of        9           MS. WAY: Objection.
   10   saying dose-dependent is critical. What does it mean?     10           THE WITNESS: It suggests that it's
   11      A. Any drug, any label, has something to do with       11       dose-dependent.
   12   dose dependency.                                          12   BY MR. HONNOLD:
   13      Q. Why?                                                13       Q. Meaning the more you take, the higher the PT
   14      A. If I gave you a little you may not have an          14   is?
   15   effect. If I give you a lot and even to the range of      15           MS. HOFFMANN: Objection.
   16   overdosing, any medicine can be good or it can be bad     16           MS. WAY: Objection.
   17   according to the dose. So when they wrote that, they      17           THE WITNESS: It says that it can be prolonged
   18   really put that in there because it had significant       18       in that setting, but the specific dosage, I don't
   19   weight. So since I didn't write this and I don't know     19       think that they were alluding to that. Again,
   20   any range but two sentences, I can't say that I'm an      20       you're pulling me into pharmacodynamics, and I'm
   21   expert. I'm just here to do the gastroenterology.         21       just a gastroenterologist.
   22   That's the only area of medical expertise that I can      22
   23   really comfortably comment on.                            23   BY MR. HONNOLD:
   24      Q. So when you just told me that when it relates       24    Q. So is it fair to state then that from your


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    1   perspective as a gastroenterologist reading                 1   cascade due to taking a medicine, then where can that --
    2   Section 12.2, if you needed to read it the way that it's    2   where is the bleeding actually coming from?
    3   phrased or worded, you don't know what it means?            3       A. Where is the bleeding coming from?
    4        MS. WAY: Objection. She doesn't prescribe it.          4       Q. Right.
    5        THE WITNESS: You said that. I didn't. I                5       A. It can come from any location in the body.
    6     don't prescribe the drug, and I'm not -- as I said        6       Q. Well, let's talk about occult GI bleeding.
    7     earlier, I'm not an expert in pharmacodynamics.           7       A. Okay.
    8   BY MR. HONNOLD:                                             8       Q. Where would it be coming from?
    9     Q. So at least based upon looking at your report,         9       A. Anywhere from lip to anus, or it can be
   10   do you have any idea what Ms. Mingo's PT was when she      10   intraperitoneal or inside the liver or the spleen.
   11   presented to the hospital on February 13?                  11       Q. Kidney?
   12     A. I didn't list it in my report if I'm correct,         12       A. That's not a part of the GI tract.
   13   so I'd have to go to the medical records to look at it     13       Q. If we -- if we go beyond the GI tract then can
   14   specifically. Do you want this back, sir?                  14   a patient have occult bleeding in or around the kidney?
   15     Q. No. It's marked as an exhibit. It's part of           15       A. Yes. It's called hematuria or it could be a
   16   the official court record now so what we'll probably do    16   hematoma in the -- in the kidney.
   17   is -- I don't know what you've done in prior               17       Q. So when a patient has occult bleeding then
   18   depositions, but we'll probably just put them in a stack   18   regardless of its -- of its cause it's going to be
   19   in order and we'll keep them in front of you in case we    19   coming from somewhere, from some site; correct?
   20   need to refer to them?                                     20       A. Regardless of the cause, there is a location of
   21     A. I think I've got some things mixed up here.           21   it.
   22     Q. Here's a paper clip that you can kind of put          22       Q. Okay. And what is it specifically about the
   23   around it.                                                 23   interference with the normal coagulation cascade that
   24     A. Okay. Thank you.                                      24   can cause occult bleeding?


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    1      Q. If you go to page 9 of your report, I'm going         1      A. There are different points in the coagulation
    2   to have some questions for you about some of the            2   cascade that drugs are targeted to, but also drugs such
    3   information on page 9.                                      3   as aspirin are targeted to platelets.
    4         What are the possible, possible causes of             4      Q. How is it that anti-Factor Xa agents like
    5   occult bleeding in a patient, occult gastrointestinal       5   Eliquis or rivaroxaban can interfere with the normal
    6   bleeding, what can cause that?                              6   coagulation cascade to the extent they can cause occult
    7      A. Inflammation, ulceration, infection, cancer,          7   bleeding?
    8   coagulopathy, liver disease, medications, and that's not    8         MS. HOFFMANN: Objection.
    9   an exhaustive list. That is just a broad category of        9         THE WITNESS: They don't have to cause occult
   10   things that could cause occult bleeding.                   10      bleeding, but they basically inhibit Factor Xa.
   11      Q. How do medications cause occult bleeding?            11   BY MR. HONNOLD:
   12      A. Several different ways.                              12      Q. And is that how they can -- is that how they
   13      Q. How?                                                 13   can cause occult bleeding?
   14      A. Well, you can have systemic absorption of the        14         MS. HOFFMANN: Objection.
   15   medication which can lead to changes. You can have         15         MS. WAY: Objection.
   16   direct injury that can cause bleeding. You can have        16         THE WITNESS: That causes -- I'm sorry. That
   17   interference of a normal coagulation cascade. There are    17      causes the blood not to clot.
   18   many reasons.                                              18   BY MR. HONNOLD:
   19      Q. So when a patient has occult bleeding from the       19      Q. And then that can result in occult bleeding?
   20   interference with the normal coagulation cascade, can      20         MS. WAY: Objection.
   21   that be caused by medication?                              21         THE WITNESS: Not necessarily.
   22      A. Yes, but there are other things too.                 22
   23      Q. So when a patient has occult bleeding that's         23   BY MR. HONNOLD:
   24   caused by interference with the normal coagulation         24    Q. But can it?


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    1          MS. HOFFMANN: Objection.                             1        THE WITNESS: Is it possible that I -- it could
    2          THE WITNESS: It's possible. However, it has          2     have been retroperitoneal or it could have been from
    3      to usually have a lesion that is going to be -- that     3     hematuria.
    4      will start to bleed. There usually has to be             4   BY MR. HONNOLD:
    5      something that is there preexisting.                     5     Q. Let's go to the top of page 12 for a moment.
    6   BY MR. HONNOLD:                                             6   The first sentence in the top of page 12 says, "Gastric
    7      Q. But the lesion can be there preexisting and not       7   ulcers, or any form of mucosal injury, may bleed due to
    8   be bleeding until you do something that disrupts the        8   exposure to aspirin, anticoagulants, or nonsteroidal
    9   coagulation cascade?                                        9   agents." Did I read that correctly?
   10          MS. WAY: Objection.                                 10     A. That's how it's stated.
   11   BY MR. HONNOLD:                                            11     Q. When you use the phrase "due to," if you wrote
   12      Q. That's possible; correct?                            12   that sentence and instead of using the phrase "due to"
   13      A. It depends. It depends.                              13   wrote "as a result of," would it mean the same thing?
   14      Q. But is it possible?                                  14     A. No. I meant it as I wrote it.
   15      A. Anything is possible.                                15     Q. Okay. So when you say that something may bleed
   16      Q. At the very top of page 9, you have a sentence       16   due to exposure to aspirin, anticoagulants, or
   17   that says, "It is possible that Ms. Mingo had occult       17   nonsteroidal agents, what are you saying as you -- as
   18   bleeding during this time." Do you see that?               18   you used that phrase then?
   19      A. Yes, I do.                                           19     A. It's very clear. These agents basically can
   20      Q. And so what were the -- you said you always          20   cause a preexisting lesion to -- to bleed, because the
   21   need a lesion. What are the possible places where          21   header of the sentence was gastric ulcers or any form of
   22   Ms. Mingo had a lesion that would have been causing or     22   mucosal injury.
   23   would have been the source of her occult bleeding during   23     Q. And then before the introduction of the agent
   24   that time?                                                 24   that may cause the preexisting lesion to bleed, what was


                                                Page 107                                                           Page 109
    1          MS. WAY: Object to the form.                         1   going on in the body that prevented the lesion from
    2          THE WITNESS: Well, you'd have to look to see         2   bleeding before the introduction of the agent?
    3      where the lesion was.                                    3      A. An intact coagulation system.
    4   BY MR. HONNOLD:                                             4      Q. And an intact coagulation system would be one
    5      Q. And I said what were the possible places?             5   where Factor Xa is not being inhibited or disrupted in
    6      A. But I classified it as occult bleeding, so that       6   any way; correct?
    7   means it's an unknown. You'd have to look to see. It        7         MS. WAY: Object to form.
    8   could have been from her -- the gums from brushing the      8         THE WITNESS: No place -- I'm sorry. I'm so
    9   teeth. It could have been from anywhere in the GI           9      sorry. Nowhere on the cascade.
   10   tract.                                                     10   BY MR. HONNOLD:
   11      Q. And why do you say it could have been from           11      Q. Including Xa; right?
   12   anywhere in the GI tract?                                  12      A. It's a part of it.
   13      A. You don't have an identifiable location for the      13      Q. And as you sit here today, what are the various
   14   source of bleeding.                                        14   or different types of anticoagulants that you -- that
   15      Q. Is there a reason though in the context of that      15   you can name today?
   16   sentence you're limiting it to the GI tract?               16      A. The NOACs are some. Coumadin is one. Those
   17          MS. WAY: Objection. Are we still -- are we at       17   are the primary ones.
   18      the top of page 9?                                      18      Q. And we could add heparin -- the heparins too,
   19          MR. HONNOLD: Yeah.                                  19   the low molecular weight heparins?
   20          THE WITNESS: Uh-huh, uh-huh.                        20      A. Yes, and Lovenox.
   21          MS. WAY: Does it -- okay. Last sentence on          21      Q. Thank you. But no doubt in your mind you
   22      the -- at the top?                                      22   include NOACs in that list of anticoagulants; correct?
   23          MR. HONNOLD: (Nodding head.)                        23      A. That's correct.
   24          MS. WAY: Okay.                                      24      Q. And I just -- I want to make sure that I


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    1   understand how you've done your report. Go back to page     1      Q. -- explanatory things?
    2   3, and I specifically want to ask you about Heading II.     2      A. Yes, explanations for the reader.
    3   Are you there?                                              3      Q. And in places where you might put a word or
    4     A. I am.                                                  4   phrase in quotations, that is a specific phrase, a word
    5     Q. And the heading of -- in your report of II is          5   or phrase that you took verbatim out of the chart;
    6   Ms. Mingo's medical history; is that right?                 6   right?
    7     A. That's correct.                                        7      A. Yes, sir.
    8     Q. In terms of you being able to comment on               8      Q. And you did that on occasion because you felt
    9   Ms. Mingo's medical history, the primary source of that     9   that those words were so particularly descriptive or
   10   information would have been the medical records that you   10   helpful you decided the best way to make a point would
   11   reviewed; correct?                                         11   be to use those actual words?
   12     A. That's correct.                                       12          MS. HOFFMANN: Objection.
   13     Q. And is it a fair statement that at least the          13          THE WITNESS: I didn't want to paraphrase that
   14   vast majority if not all of the information that you       14      part.
   15   include in your Section II came from her medical           15   BY MR. HONNOLD:
   16   records?                                                   16      Q. You note at the top of page 6 -- excuse me. At
   17     A. From my review of them, that's correct.               17   least that paragraph that continues onto the top of page
   18     Q. And when you prepared that Section II that's          18   6, you have a sentence that says, "She," and I think
   19   called Ms. Mingo's medical history, how did you prepare    19   you're referring to Nurse Practitioner Thornton,
   20   that? What I mean by that, did you prepare, like an        20   "documented uncontrolled chronic anemia." Do you see
   21   interim summary or chronology of her course and then       21   that?
   22   dictate from that or did you just dictate or type from     22      A. I do.
   23   the records as you -- as you were going through them?      23      Q. And is it your recollection that the term or
   24   How did you do it?                                         24   phrase uncontrolled chronic anemia or something like it


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    1      A. Well, the medical records had different clinic        1   is actually used by Nurse Thornton in her charting?
    2   visits and basically hospital stays, and this is a          2     A. This wasn't in quotations, so this would have
    3   summary of pertinent issues that I found from -- from       3   been basically what she documented, and that's how it
    4   looking at those medical records.                           4   basically says that she documented uncontrolled chronic
    5      Q. And so would it be a fair statement that for          5   anemia.
    6   any particular data point that you might list in this       6     Q. And can uncontrolled chronic anemia -- well,
    7   section that there would be somewhere in the medical        7   let me ask it this way: What are the -- what are some
    8   record that would corroborate that or be the source of      8   of the explanations known to you or likely explanations
    9   your statement?                                             9   of uncontrolled chronic anemia?
   10      A. Basically, yes.                                      10         MS. HOFFMANN: In general, or for Ms. Mingo?
   11      Q. Okay. There are some places where it looks           11         MR. HONNOLD: As it's used in the context of
   12   like when you were writing that if you felt it was         12     Nurse Practitioner Thornton is using it.
   13   necessary to provide maybe some explanation for the        13         THE WITNESS: So you're specifically asking me
   14   reader to put things in context you did -- you did         14     to say why she had chronic anemia or why --
   15   include some information that might not in and of itself   15   BY MR. HONNOLD:
   16   been in the records; right?                                16     Q. What were the possible explanations for that
   17      A. Please show me what you're referring to.             17   uncontrolled chronic anemia that I guess this goes to
   18      Q. Sure. Like page 6 where you talk about argon         18   about -- I think this is the discussion that gets us to
   19   plasma coagulation?                                        19   the early part of February, February 10, I think is when
   20      A. Yes.                                                 20   Nurse Practitioner Thornton was seeing Ms. Mingo. What
   21      Q. And that's what I mean by that. I'm not -- I'm       21   are the possible explanations of uncontrolled chronic
   22   not trying to be tricky about it. I just mean you did      22   anemia in Ms. Mingo at that point in time, February 10,
   23   put some --                                                23   2015?
   24      A. Explanations.                                        24     A. I'm sorry. I need to see if I referenced --


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    1     Q. Sure. Take your -- take your time --                   1     A. That's correct.
    2     A. Oh, oh, I got it. I see it here.                       2     Q. What percentage of 8.2 is 2.4?
    3     Q. To be fair --                                          3     A. You've got the phone. I love those gadgets, so
    4     A. Yes.                                                   4   you can have at it.
    5     Q. -- you might want to go back to the bottom of          5     Q. I forget what I asked you.
    6   page 5 and then the top of page 6 to put in context the     6        MS. HOFFMANN: What percentage of 8.2 is 2.4 --
    7   question that I've asked.                                   7     no.
    8     A. When she saw Nurse Practitioner Thornton,              8        MR. HONNOLD: That's easy. Okay. So we've got
    9   anemia had already been established, and at that            9     2.4 divided by 8.2 equals -- all right. So I just
   10   particular setting there were several things that could    10     divided 2.4 by 8.2 and got .2926. Does that make
   11   have alluded to chronic uncontrolled anemia. She could     11     sense?
   12   have had anemia chronic disease, exposure to               12        MS. HOFFMANN: Objection.
   13   nonsteroidals in the past, her exposure to aspirin,        13        THE WITNESS: That's the math.
   14   peptic ulcer disease caused by several other of her        14   BY MR. HONNOLD:
   15   habits including smoking and things of that nature.        15     Q. Okay. So if a patient -- if a patient has a
   16     Q. Anything else that as of February 10, 2015,           16   hemoglobin of 8.2 and then loses 2.4 more grams, that
   17   besides what you just listed, that could be an             17   would represent about a 29 percent drop in hemoglobin;
   18   explanation for the uncontrolled chronic anemia            18   right?
   19   documented by Nurse Thornton?                              19        MS. HOFFMANN: Objection.
   20     A. Those were some of the things that I just             20        MS. WAY: Objection.
   21   remember, but at that particular time I think that she     21   BY MR. HONNOLD:
   22   had seen Dr. Gholson and anemia had been diagnosed.        22     Q. If the math is right.
   23     Q. And as you look at your report on page 6, can         23     A. You have to start with what her initial
   24   you tell one way or the other from what you have -- what   24   hemoglobin was. You're looking at two different values,


                                                   Page 115                                                        Page 117
    1   you have summarized from the records for that time as to    1   but what was the first value when she was in the normal
    2   whether there was a hemoglobin that was done on             2   range. And also you have to realize that the hemoglobin
    3   February 10?                                                3   only has do with the oxygen capacity of the red cell.
    4     A. The hemoglobin had been done previously by             4   Hematocrit is done in percentages, and it has to do with
    5   Dr. Gholson.                                                5   the extra fluid that surrounds the red cells.
    6     Q. On what date?                                          6      Q. But are you aware of anything -- any of your
    7     A. I'm not sure -- on page 5, it basically stated         7   medical literature references on your exhibit saying
    8   that Dr. Gholson saw her and on 2/3/15 a hemoglobin was     8   about the significance of losing 29 percent -- a drop
    9   drawn. She was then --                                      9   from -- between -- an interval drop of 29 percent of
   10     Q. So the -- excuse me.                                  10   hemoglobin, the significance of that?
   11     A. -- referred -- she was then referred to the           11          MS. WAY: Objection.
   12   gastroenterologist.                                        12          THE WITNESS: 29 percent is not a number that I
   13     Q. And then do you know whether or not there was a       13      saw in the medical literature, not specifically
   14   hemoglobin test that would have been done on or about      14      29 percent.
   15   February 10?                                               15   BY MR. HONNOLD:
   16     A. I'm not sure that one was done in Mary                16      Q. Okay. Well, how about 25 percent or
   17   Thornton's, but then two days later one was drawn by       17   30 percent?
   18   Dr. Gholson's office again.                                18      A. There are -- now we --
   19     Q. And that's February 12?                               19      Q. Now we're talking?
   20     A. That's correct.                                       20      A. What we're basically saying is that we're
   21     Q. And the hemoglobin on February 12 was what?           21   talking about a significant drop in hemoglobin. That's
   22     A. It was noted to be 5.8.                               22   all that we're talking about.
   23     Q. And so that would be an interval drop from            23      Q. I guess that's where we were getting. There's
   24   February 3 of 2.4 grams?                                   24   no doubt that she had a significant drop in hemoglobin?


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    1     A. That's correct, uh-huh.                                1   in this case, are there any other identifiable sources
    2     Q. So we're making it very difficult for our court        2   that you are aware of?
    3   reporter. We can agree that a 2.4-gram drop in              3      A. There were no active bleeding sources during
    4   hemoglobin between February 3 and February 12 is a          4   his examination.
    5   significant drop in her hemoglobin?                         5      Q. Then have you formed an opinion in this case
    6          MS. WAY: Objection.                                  6   that there was some other source of bleeding in
    7          THE WITNESS: Yes. I'm sorry. I apologize.            7   Ms. Mingo other than that 6-millimeter ulcer that was
    8   BY MR. HONNOLD:                                             8   identified?
    9     Q. And can we agree that the most likely cause of         9      A. I could only say that what Dr. Keith did was to
   10   that drop in hemoglobin was due to gastrointestinal        10   look at the GI tract and did not identify any additional
   11   bleeding?                                                  11   sources.
   12     A. She had hemoccult positive stools, so it was          12      Q. And that 6-millimeter ulcer, based upon your
   13   highly suggestive.                                         13   training, education, and experience, is that ulcer,
   14     Q. Are hemoccult positive stools highly suggestive       14   based upon its type, nature, or circumstance location a
   15   of gastrointestinal bleeding?                              15   sufficient identifiable source in your view to explain
   16     A. Yes.                                                  16   that interval drop in hemoglobin from 8.2 to 5.8 between
   17     Q. Why?                                                  17   February 3 and February 12?
   18     A. Because the test is specific for blood.               18         MS. HOFFMANN: Objection.
   19          MS. HOFFMANN: It's time for a break.                19         MS. WAY: Object to form.
   20          MR. HONNOLD: Sure.                                  20         THE WITNESS: I would say yes.
   21          THE VIDEOGRAPHER: The time now is 6:41 p.m.         21   BY MR. HONNOLD:
   22     We are off the record.                                   22      Q. And you know from your review of the medical
   23          (Recess from 6:41 p.m. until 6:55 p.m.)             23   records that during that time Ms. Mingo was on Xarelto;
   24          THE VIDEOGRAPHER: This begins Disk 3 of             24   correct?


                                                     Page 119                                                   Page 121
    1     today's deposition. The time now is 6:55 p.m. We          1      A. Along with other medications, yes.
    2     are back on the record.                                   2      Q. And based upon your understanding of how either
    3   BY MR. HONNOLD:                                             3   Xarelto or anticoagulants in general work, how would
    4     Q. Doctor, we're back on the record after a short         4   that -- how would the Xarelto been inhibiting or working
    5   break. I'd like to refer you or point to you page 6 of      5   against Ms. Mingo's body forming a clot at that ulcer
    6   your report.                                                6   site?
    7     A. Yes.                                                   7          MS. HOFFMANN: Objection.
    8     Q. And there is a paragraph that begins with              8          MS. WAY: Objection.
    9   Dr. Stephen Keith performed an EGD. Do you see that?        9          THE WITNESS: The basic mechanism of an
   10     A. Yes.                                                  10      anticoagulant is to make the blood thin and not
   11     Q. And so based upon your review of the medical          11      clot.
   12   records, is it your sense or view that it is that small    12   BY MR. HONNOLD:
   13   6-millimeter ulcer that was the likely site of the -- of   13      Q. And so it is your view or belief in this case
   14   Ms. Mingo's gastrointestinal bleeding?                     14   that the Xarelto that Ms. Mingo was taking would have
   15     A. There was active bleeding noted from this             15   been having that effect on her clotting cascade?
   16   lesion.                                                    16      A. If she took it, yes.
   17     Q. And is it your view or belief, based upon the         17      Q. And based upon what you've reviewed in this
   18   materials you've reviewed in this case, that it was        18   case, is there any medical record evidence or testimony
   19   bleeding from this small 6-millimeter ulcer that would     19   to suggest that Ms. Mingo was not taking her Xarelto as
   20   explain the interval drop in Ms. Mingo's hemoglobin from   20   instructed?
   21   8.2 on February 3 to 5.8 on February 12?                   21      A. Not that I can see.
   22     A. That was an -- that was an identifiable source,       22      Q. You have included on your reference list some
   23   yes.                                                       23   of the publications that were in the EINSTEIN series of
   24     Q. And based upon the materials that you reviewed        24   clinical trials. Are you familiar with those


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    1   references?                                                1      Q. But your articles included the UpToDate
    2      A. They were included in the records that I was         2   articles; right?
    3   given.                                                     3      A. Yes, sir.
    4      Q. And as you sit here today, do you have some          4      Q. Do you have any understanding of the definition
    5   understanding of what is the significance of the           5   that has been applied to the terms -- to the term major
    6   EINSTEIN clinical trials in the history or evolution of    6   bleeding by either any medical societies or sponsors of
    7   rivaroxaban?                                               7   clinical trials?
    8      A. You know, I really looked at them                    8      A. Mostly in gastroenterology societies, sir.
    9   superficially. They were not a strong basis for my         9      Q. Okay. And in gastroenterology societies, what
   10   forming my opinion.                                       10   is the definition of or how is major gastrointestinal
   11      Q. Were any of the articles that were provided to      11   bleeding defined?
   12   you by counsel a strong basis for forming your opinion?   12         MS. HOFFMANN: Can she refer to her report?
   13      A. I formed my opinion based on my clinical            13         MR. HONNOLD: Sure.
   14   experience and what I know about gastroenterology.        14   BY MR. HONNOLD:
   15      Q. Okay. And I appreciate that. And so then can        15      Q. Oh, you can always look at your report if you
   16   you answer my question. Were any of the articles that     16   need to to answer anything that I'm asking you.
   17   were provided to you by counsel a strong basis for        17      A. That's fine.
   18   forming your opinions?                                    18      Q. Sure.
   19      A. Not really. I relied upon my -- my articles         19      A. Basically when you categorize gastrointestinal
   20   primarily.                                                20   bleeding it can be mild, moderate or major, and that's
   21      Q. And when you say your articles, that means the      21   one of the ways that some of the GI societies will
   22   ones --                                                   22   categorize it.
   23      A. Those --                                            23      Q. And what are the objective criteria that lead
   24      Q. -- that we identified that didn't come from the     24   to or define those definitions?


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    1   lawyers?                                                   1      A. The additive criteria would be the clinical
    2     A. Right. Those are the ones that I denoted to           2   status of the patient when they present, and that
    3   you earlier.                                               3   specifically looks at if they are hemodynamically stable
    4     Q. And I don't want to go through the list again,        4   or not, couple that with whether there is evidence of
    5   but we picked out the ones that were your articles;        5   active bleeding going on. So that basically allows you
    6   right?                                                     6   to place a patient in one of those three categories.
    7     A. Uh-huh.                                               7      Q. Have you seen in any of the literature that
    8     Q. Yes?                                                  8   you've looked at where major bleeding is defined by
    9     A. Yes.                                                  9   various criteria including the amount or quantity of
   10     Q. And those were primarily the -- amongst other        10   transfusion or blood products that the patient is
   11   things your articles included the things from UpToDate;   11   given --
   12   right?                                                    12      A. I think I've --
   13     A. I'm sorry. Excuse me. Can we go off the              13      Q. -- at the time of resuscitation?
   14   record for one second, please?                            14      A. I think I've looked at that.
   15         THE VIDEOGRAPHER: The time is 7:02 p.m. We          15      Q. And the things that you've looked at that do
   16     are off the record.                                     16   speak to those factors, do you recall anything in terms
   17         (Discussion off the record.)                        17   of objective criteria for defining a major bleed?
   18         THE VIDEOGRAPHER: The time is 7:02 p.m. We          18      A. If I'm correct, there was a change in the
   19     are back on the record.                                 19   hemoglobin, also along with the number of blood
   20         THE WITNESS: Thank you.                             20   transfusions, also along with the status of the patient.
   21   BY MR. HONNOLD:                                           21      Q. You know that there are some -- one of the
   22     Q. We went through the list and identified your         22   definitions for whether or not the patient had a
   23   articles?                                                 23   major -- had a major bleed is whether or not their
   24     A. Yes, sir.                                            24   hemoglobin dropped by at least 2 grams; right?


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    1      A. It could be, but there's also a time factor           1   in the measure of her hemoglobin, that's some suggestion
    2   that goes along with that, sir.                             2   then that the Xarelto was contributing to bleeding; is
    3      Q. What is that time factor that goes along with         3   that right?
    4   that?                                                       4         MS. WAY: Objection.
    5      A. It depends upon that patient. You can have a          5         THE WITNESS: I'm sorry. We didn't know what
    6   dropping of 2 -- of 2 of a hemoglobin of 2, and it can      6     the cause of bleeding was.
    7   be over six months or it can be as rapidly as two hours.    7   BY MR. HONNOLD:
    8      Q. But in terms of the things that you've seen in        8     Q. Okay. But now in retrospect?
    9   your literature, you know, that you've looked at, that      9     A. Well, there are more factors than that, because
   10   you said you've seen, you know that there is a major       10   she also was on aspirin.
   11   bleeding definition that talks about a drop of 2 grams     11     Q. Okay. So -- and I understand that, but the
   12   of hemoglobin; right?                                      12   drop in hemoglobin, is that in retrospect some
   13      A. Well, in my societies we look at more than one       13   suggestion or objective evidence as to when Xarelto was
   14   parameter. It's not just the hemoglobin. You have to       14   contributing to the bleeding?
   15   look at what else is going on with the patient. There's    15         MS. HOFFMANN: Objection.
   16   never an independent factor. It's always you look at       16         MS. WAY: Same.
   17   the patient globally.                                      17         THE WITNESS: I don't know that we can call it
   18      Q. Then have you formed an opinion in this case as      18     objective evidence because we did not know where she
   19   to when it was that the effects of rivaroxaban on          19     was -- what was causing her bleeding.
   20   Ms. Mingo's ulcer started contributing to bleeding?        20   BY MR. HONNOLD:
   21      A. If I'm correct, you asked me have I formed an        21     Q. You say -- you told me that somewhere in the
   22   opinion on when --                                         22   range of a week or two before presentation, you said
   23      Q. Yes.                                                 23   there was something significant about her hemoglobin
   24      A. -- the rivaroxaban caused the bleeding? Is           24   during that time. What did you mean by that?


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    1   that --                                                     1     A. The only measurable data was when she saw
    2      Q. Or started contributing to the bleeding?              2   her -- her practitioners and labs were drawn.
    3      A. Started contributing to the bleeding? Not             3     Q. So when she saw her practitioners and labs were
    4   exactly, no.                                                4   drawn, what were the things that were -- that were known
    5      Q. As you sit here now do you have some view on          5   about Ms. Mingo at that time that could have explained
    6   that?                                                       6   the changes or drops in her hemoglobin?
    7      A. She started having signs of -- she started --         7     A. When she was seen, she had the blood work that
    8   let me go back.                                             8   was drawn. She eventually had stool tested for blood
    9          Her blood count was noted to change over a           9   that was positive.
   10   relatively short period of time, but clinically she was    10     Q. Right, and I understand that, those are the
   11   able to continue with her function.                        11   kind of the end points, but what were the things that
   12      Q. Okay. So based upon what you've told me there.       12   were known about Ms. Mingo when that testing was done
   13   Does that shed some light on when you think that the       13   that would explain those things?
   14   rivaroxaban started contributing?                          14         MS. HOFFMANN: Objection.
   15          MS. WAY: Object to form.                            15         THE WITNESS: When the testing was done, what
   16      A. It would have been somewhere in the range of a       16     would have explained those changes?
   17   week or two, maybe, before she presented to the            17   BY MR. HONNOLD:
   18   hospital.                                                  18     Q. Yes.
   19      Q. And why do you say that?                             19     A. Well, there were a lot of different things.
   20      A. That's when there was actual -- some                 20   She had a lot of comorbid issues. She was on aspirin.
   21   documentation of the change in her hemoglobin. Up to       21   She was on Xarelto. There were a lot of different
   22   that time, I don't think that I had any measure of what    22   things.
   23   the effect could have been.                                23     Q. And so that list would be things that could
   24      Q. And so as you look at that drop or that change       24   explain her bleeding or her drop in hemoglobin and her


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    1   positive --                                                 1   other treating physicians, have you come to the
    2      A. These were suggestions --                             2   conclusion together that the anticoagulant should be
    3      Q. -- stools?                                            3   stopped?
    4      A. -- but you have to remember we didn't know            4       A. If we have not identified and treated a source
    5   where she was bleeding from at that point.                  5   of bleeding, I would say yes, until those measures could
    6      Q. I understand that, but in terms of what the           6   be done.
    7   information that was known to her providers at that         7       Q. And in those situations where the decision was
    8   point in time when they are doing that testing, and they    8   made in that specific circumstance as you state, why was
    9   are seeing that drop in -- or those test results, what      9   it that the decision was made to stop the anticoagulant?
   10   were the things that were known about her at those times   10       A. Say that again.
   11   that could explain those test results? And you told me     11       Q. Sure.
   12   that could be many things, including her comorbidities     12       A. Sure.
   13   and the fact that she was on aspirin and Xarelto; right?   13       Q. You've given me a lot of qualifications so I'm
   14      A. Absolutely, but remember she was referred to a       14   trying to say I accept them and I'm bringing them into
   15   gastroenterologist to have more definitive studies done.   15   the question, but I made it harder than I need to.
   16      Q. Have you ever ordered an anticoagulant to be         16       A. The last -- yeah, the last part of the question
   17   stopped in a patient?                                      17   I just didn't exactly follow, and I don't -- I don't
   18      A. I don't manage anticoagulation. Usually I am         18   want to be misleading.
   19   seeing a patient as a consultant.                          19       Q. Okay. You've told me about the situations
   20      Q. Okay. So if you are seeing a patient -- have         20   where you've been called in as a consultant where a
   21   you ever seen patients as a consultant in the context of   21   patient might have gastrointestinal bleeding and be on
   22   them having gastrointestinal bleeding that was being       22   an anticoagulant; right?
   23   caused by anticoagulation?                                 23       A. Yes.
   24         MS. HOFFMANN: Objection.                             24       Q. And you've told me that you generally would not


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    1          MS. WAY: Objection.                                  1   want to stop the anticoagulant without some discussion
    2          THE WITNESS: Have I seen those patients?             2   in consultation with the prescribing physician or
    3   BY MR. HONNOLD:                                             3   another treating physician that knows more about why the
    4       Q. Yes.                                                 4   patient is on the anticoagulant; right?
    5       A. Of course I have.                                    5     A. Yes, that's correct.
    6       Q. Okay. Frequently?                                    6     Q. Okay. And then you've told me that on occasion
    7       A. Yes, I do see patients frequently that are on        7   after you've had that interaction with that prescribing
    8   anticoagulants.                                             8   or other treating physician the decision may have been
    9       Q. And where they're having GI bleeding as a            9   jointly made after consultation to stop the
   10   result?                                                    10   anticoagulant; correct?
   11       A. Not necessarily. Some do and some don't.            11     A. Yes, sir, uh-huh.
   12       Q. Okay. And in the context of those patients,         12     Q. And then when that's actually been done, the
   13   when you've been called in as a consultant, based upon     13   decision after consultation to stop the anticoagulant,
   14   your training, education and experience, has that ever     14   what were the -- what was the reason why it was stopped?
   15   caused you to say if it's not been discontinued let's      15     A. Because we haven't identified a source of
   16   make sure we stop the anticoagulant?                       16   bleeding, and it hasn't been treated.
   17       A. If they're bleeding, of course, but we do that      17     Q. And then why is it that you in some
   18   in consultation with the -- with the physician that        18   circumstances then want the anticoagulant to be stopped?
   19   prescribed it. I mean, I don't always know the reason      19     A. Because I want the patient to stop bleeding and
   20   that the anticoagulant was prescribed, and of course if    20   I don't know the source of the bleeding.
   21   it's some life-threatening issue, I'm going to talk with   21     Q. And what is it about stopping the anticoagulant
   22   the person who consulted me.                               22   that will help the patient stop bleeding?
   23       Q. Okay. After having that conversation, though,       23     A. The what is it about it?
   24   in I guess joint consideration with the prescribing or     24     Q. Uh-huh.


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    1       A. Well, an anticoagulant's function is to -- to        1         THE WITNESS: Okay.
    2    make sure the blood does not clot. You want any            2   BY MR. HONNOLD:
    3    bleeding source to be able to clot.                        3      Q. Is it -- is it within your knowledge or area of
    4       Q. Then what is it about stopping the                   4   expertise as it relates to a patient who's bleeding as a
    5    anticoagulant then that allows that to happen?             5   result of being on a NOAC to decide whether to reverse,
    6       A. The drug is eventually cleared from the body.        6   and if you do attempt to reverse, what agents to use?
    7       Q. And depending upon that drug the time that it        7      A. I'm not a hematologist, so I would have to say
    8    takes for that to happen can vary; correct?                8   no.
    9       A. Yes, it can.                                         9      Q. And would it be fair to state then that from
   10       Q. Have you ever been involved in providing            10   your perspective and your practice, those issues about
   11    consultation on the issue of whether the effects of an    11   whether or not to attempt reversal of anticoagulation in
   12    anticoagulant should be reversed or attempted to be       12   a patient on a NOAC who's having bleeding as a result,
   13    reversed in a patient by using some other agent?          13   that would be something that you'd be most comfortable
   14       A. It depends upon the type of anticoagulant.          14   referring to a hematologist for that decision?
   15       Q. Okay. So tell me about those situations where       15      A. Well, again, I'm not a hematologist, but you
   16    you've been involved in that.                             16   have to understand that most of the NOACs have a very
   17       A. Characteristically it's when they've been           17   short half-life.
   18    exposed to Coumadin.                                      18      Q. Okay. And so is that something that on the
   19       Q. And then have you been involved in taking care      19   issue of whether or not to reverse -- to make attempts
   20    of patients where you were involved in the consultation   20   to reverse a NOAC, would you generally feel more
   21    as to whether the Coumadin -- or steps should be taken    21   comfortable referring that decision to a hematologist?
   22    to reverse the effects of Coumadin?                       22      A. I'm not -- yes, I would, mainly because if it
   23       A. It usually is already initiated before I'm          23   was necessary, but I just really can't recall it ever
   24    there.                                                    24   being necessary.


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    1     Q. And that's what I'm trying to get at --                1      Q. Let's move forward to page 7 again. I'm back
    2     A. Sure.                                                  2   to Roman Numeral Section -- or III section of your
    3     Q. -- is whether that's something that's commonly         3   report. Can you go there?
    4   within your experience or is that something that's          4      A. I'm there.
    5   usually already done in the emergency room by the time      5      Q. And so I want to make sure I understand kind of
    6   you might be consulted or arrive on the scene. Is that      6   the format of your report. It looks like in Section III
    7   true?                                                       7   you have basically identified several case specific
    8     A. Yes. A good ER physician would already do              8   opinions; is that right?
    9   that.                                                       9      A. That's correct.
   10     Q. Have you been involved in consulting on               10      Q. And what you have done then is provided some
   11   patients where there's discussion being had on whether     11   explanation or basis for those opinions after they're
   12   or not to make attempts to reverse the effects of one of   12   stated in your report beginning at page 7; right?
   13   the NOAC drugs?                                            13      A. Actually, what I'm doing is looking at facts
   14     A. No, sir.                                              14   from the medical literature and then voicing my opinion
   15     Q. As you sit here today, is it within your              15   on those.
   16   medical knowledge or within your area of expertise as to   16      Q. And in terms of just by way of a list of your
   17   what the factors would be to go into the decision of       17   case specific opinions, those would be the bolded
   18   whether reversal should be attempted, and if it is         18   subheadings that are on pages 7, 8, 9, 10, 12 -- and 12
   19   attempted, what agents would be used?                      19   of your report; right?
   20           MS. WAY: Object to form.                           20      A. Yes.
   21           MS. HOFFMANN: With the NOAC or Coumadin or --      21      Q. So if we go through by list, your first
   22           MR. HONNOLD: Yes, with a NOAC.                     22   case-specific opinion is that Ms. Mingo was at risk for
   23           MS. HOFFMANN: I'm sorry.                           23   developing a DVT; right?
   24           MR. HONNOLD: I'll ask another question.            24      A. That is -- that's correct.


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    1     Q. Your next case-specific opinion is that Xarelto        1   earlier there's a time frame in which the drop can
    2   treated Ms. Mingo's blood clot; right?                      2   occur. If it's over a long period of time the patient
    3     A. Correct.                                               3   may not have any additional symptoms at all. However,
    4     Q. The next case-specific opinion is that                 4   if it's a more acute setting, they can have some
    5   Ms. Mingo had anemia before taking Xarelto; right?          5   hemodynamic instability, changes in the vital signs,
    6     A. Yes.                                                   6   blood pressure, things of that nature.
    7     Q. The next one is management of GI bleeds, and           7       Q. And when a patient experiences a significant GI
    8   that's kind of a mix of kind of where you provide some      8   bleed on some occasions can GI bleeds be significant
    9   information generally about managing GI bleeds?             9   enough to cause death?
   10     A. That's correct.                                       10       A. That's a rarity.
   11     Q. But then you also weave it into or relate it to       11       Q. But it does occur?
   12   Ms. Mingo in some way specifically; right?                 12       A. Very rarely, yes.
   13     A. That's correct.                                       13       Q. Well, have you looked into whether there have
   14     Q. But much of that section, management of GI            14   been reported events of patient deaths secondary to GI
   15   bleeds, is information that could be found in the          15   bleeds patients that were taking Xarelto?
   16   medical literature if you were to be looking for           16       A. Not specifically with Xarelto, but in general,
   17   guidance on how to manage a GI bleed; right?               17   yes.
   18     A. That would be correct.                                18       Q. And when you say in general, you're talking
   19     Q. And so while you don't make specific footnote         19   being anticoagulants in general?
   20   citations to any of your references, is it fair to state   20       A. No, sir. I'm talking about GI bleeding in
   21   that the basis for much of what you've stated in that      21   general regardless of the cause.
   22   section, management of GI bleeds, could be found in some   22       Q. Have you ever submitted a MedWatch report
   23   of those articles that you cited in your reference list?   23   related to a patient who suffered injury that you
   24     A. Yes, definitely.                                      24   believe was associated with prescription medication?


                                                      Page 139                                                       Page 141
    1      Q. And your next case specific section is causes         1     A. A MedWatch report?
    2   of gastric ulcers and GI bleeds; right?                     2     Q. Yes.
    3      A. Yes.                                                  3     A. I'm not familiar with what that is.
    4      Q. And then your next heading is stated as Xarelto       4     Q. Okay. Have you ever submitted a report to any
    5   did not create Ms. Mingo's ulcer or cause her bleed;        5   agency, professional body, hospital committee that you
    6   correct?                                                    6   felt that a patient's injury was contributed to either
    7      A. That's correct.                                       7   by a prescription drug or medical device?
    8      Q. From any -- from reading any of the materials         8     A. No, sir.
    9   on your reference list, do you know how the dose was        9     Q. Have you seen situations where you believe that
   10   arrived at for Xarelto for treatment of DVT?               10   a patient's condition was caused by or contributed to be
   11      A. On my reference list?                                11   caused by a prescription drug or medical device?
   12      Q. Yeah, based -- I mean based upon reading any of      12         MS. HOFFMANN: Objection.
   13   that stuff, were you able to ascertain how it was that     13         THE WITNESS: I really don't remember
   14   the dose of 15 milligrams twice a day for 21 days          14     specifically, but that's a broad question because
   15   followed by 20 milligrams a day, how that dose pattern     15     there are a lot of devices and medications.
   16   was arrived at?                                            16   BY MR. HONNOLD:
   17      A. Not exactly, no.                                     17     Q. Have you taken care of patients that had
   18      Q. When a patient experiences a significant drop        18   significant liver abnormalities that you thought were
   19   in hemoglobin, what -- well, strike that.                  19   secondary to prescription medication?
   20         When a patient experiences a significant drop        20         MS. HOFFMANN: Objection.
   21   in hemoglobin as a result of a GI bleed, what are the      21         THE WITNESS: A small segment of my population
   22   sorts of things that can happen to the patient? And I      22     has been exposed to medicines that can injure the
   23   mean untoward things.                                      23     liver.
   24      A. If there's a significant drop as I alluded to        24   BY MR. HONNOLD:


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    1      Q. But have you actually seen it manifest in some        1     A. I can actually do better than that. I can do
    2   patients, that injury as a result of taking any of those    2   prescription and nonprescription, and we're going to
    3   medications you're talking about?                           3   just start with the nonprescription.
    4         MS. WAY: Objection.                                   4     Q. Okay.
    5         THE WITNESS: Which medications, sir?                  5     A. Tylenol.
    6   BY MR. HONNOLD:                                             6     Q. Okay. What does that do to the liver?
    7      Q. I don't know. You brought it up.                      7     A. In large dosages it can cause acute hepatic
    8         MS. WAY: No, you did.                                 8   failure and death.
    9         THE WITNESS: No, I'm sorry. You asked about           9     Q. And does large dose mean taking it all at once
   10      had I ever done a report on MedWatch, and then you      10   or taking a lot over a period of time?
   11      asked had I ever notified anybody about a specific      11     A. It means taking it all at once.
   12      medical device or drug, and I wanted to specifically    12     Q. Okay.
   13      ask which one were you talking about.                   13     A. Usually in a suicide attempt.
   14   BY MR. HONNOLD:                                            14         MS. HOFFMANN: So there's an example.
   15      Q. Okay. So you said that a small segment of the        15         MR. HONNOLD: Okay, there's one.
   16   population of your patients have had liver abnormalities   16         MS. HOFFMANN: Where are we going?
   17   that could be explained by medication; right?              17         MR. HONNOLD: Well, she said she's going to
   18         MS. HOFFMANN: Objection.                             18     start with the nonprescription, so Tylenol is one.
   19         MS. WAY: Same.                                       19     What's next?
   20         THE WITNESS: You asked me a question before          20         MS. HOFFMANN: I know you're going somewhere
   21      that. Could you state the question that you asked       21     with it, so maybe we can get to the end point.
   22      me?                                                     22
   23   BY MR. HONNOLD:                                            23   BY MR. HONNOLD:
   24      Q. Let's start all over because obviously it's          24     Q. I just don't want to -- I don't want to break


                                                Page 143                                                            Page 145
    1   causing a problem between us, and I don't want that to      1   up the -- okay. So you said you were going to start
    2   be -- we've been getting along so well. I want to avoid     2   with the nonprescription and Tylenol. Okay, there you
    3   problems. I just want to -- let's go to -- let's just       3   go.
    4   go to a new slate, okay, on this issue?                     4     A. Yeah.
    5      A. There are no problems.                                5     Q. So do you have -- are there other
    6      Q. Okay. So are you aware of medicines that can          6   nonprescriptions, or you want to move on to the
    7   cause injury to the liver?                                  7   prescription side?
    8      A. Yes.                                                  8     A. That's actually the number one cause of acute
    9      Q. What are they?                                        9   hepatic failure in the United States and the world.
   10      A. The list is legion.                                  10     Q. Is what?
   11      Q. Okay. "Legion" meaning a big list?                   11     A. And it's nonprescription, that's Tylenol. And
   12      A. Huge.                                                12   then when you go to prescription medications, there are
   13      Q. It's a lot of prescription drugs that can            13   a lot of different classes of that. If you look at the
   14   injure the liver?                                          14   cardiology drugs, amiodarone is known for that. Some of
   15      A. Absolutely.                                          15   the arthritis drugs would be things like methotrexate.
   16      Q. Okay. Can you think of two or three?                 16   There are a lot of different medications.
   17         MS. HOFFMANN: Like, examples?                        17     Q. And whether or not a medication on that legion
   18   BY MR. HONNOLD:                                            18   of drug list can cause liver disease, can -- other than
   19      Q. Examples, yeah.                                      19   the Tylenol that you said and given in big doses, are
   20      A. Yes.                                                 20   there other drugs, whether it's prescription or
   21      Q. That would be a good way to put it. Can you          21   nonprescription, where the propensity to cause injury to
   22   think of examples of prescription drugs that can injure    22   the liver is related to the amount of drug that's taken
   23   the -- two or three that would be on that legion, that     23   or the amount of drug in the system?
   24   legion of drugs?                                           24     A. Some are and some not.


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    1      Q. Okay. Which ones are?                                 1      A. Some -- it depends upon the metabolism of the
    2      A. Any drug can give you an idiosyncratic reaction       2   drug.
    3   and that can result in liver injury. There's a syndrome     3      Q. How so?
    4   called DILI, drug-induced liver injury.                     4      A. Well, a drug can be metabolized by several
    5      Q. And then is DILI, D-I-L-Y, drug-induced liver         5   different ways, and that's individualized according to
    6   injury --                                                   6   what the drug is.
    7      A. I.                                                    7      Q. And how is it that there -- that some drugs can
    8      Q. -- is that idiopathic, or is that related to,         8   be individualized in terms of how the drug is
    9   or can it be related to the amount of medicine that is      9   metabolized or eliminated by the patient?
   10   in the patient's bloodstream?                              10      A. Well, that's just the basis of how the compound
   11      A. Either.                                              11   is made.
   12      Q. So as it relates to liver injury, there are          12      Q. Okay.
   13   instances with certain drugs that the amount of exposure   13      A. Some come out in urine. Some come out in
   14   to the drug or the plasma concentration of the drug can    14   feces. Some are metabolized by the liver.
   15   influence whether or not it harms the liver?               15      Q. Okay. And is it true that patients can have
   16         MS. WAY: Object to form.                             16   varying levels of plasma concentration for a given drug?
   17         THE WITNESS: It can be either. It is not             17         MS. WAY: Object to form.
   18      predictable.                                            18         MS. HOFFMANN: Objection.
   19   BY MR. HONNOLD:                                            19         THE WITNESS: I'm not exactly sure. I think
   20      Q. Did you take any pharmacology classes in             20      we'd have to be specific about that.
   21   medical school?                                            21   BY MR. HONNOLD:
   22      A. One, about 30 years ago.                             22      Q. The -- any of the information that you've read
   23      Q. Okay. In that -- in that class were you              23   about Xarelto, either generally in your practice or for
   24   taught or did you learn that increased plasma              24   your work on this case, do you understand or know what


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    1   concentration of some drugs can determine what effect       1   the mean or expected plasma concentration level is for a
    2   the drug is going to have?                                  2   patient who takes, for example, 15 milligrams of Xarelto
    3         MS. HOFFMANN: Objection.                              3   twice a day?
    4         MS. WAY: Same.                                        4          MS. WAY: Object to form.
    5         THE WITNESS: You know, that was a long time           5          THE WITNESS: I don't recall that.
    6      ago, and I don't want to misstate myself.                6   BY MR. HONNOLD:
    7   BY MR. HONNOLD:                                             7      Q. Do you know whether that was discussed in any
    8      Q. So you can't remember?                                8   of the items to your reference list?
    9      A. Not really.                                           9      A. It might have been, but I didn't read all of
   10      Q. Are there any drugs that you can name that you       10   them in their entirety. Some of them I didn't feel were
   11   know that the amount of drug in the blood or the plasma    11   something that I needed to focus on.
   12   concentration of the blood can be determinative of the     12      Q. Okay. So I should have asked you that before,
   13   effects that the drug is going to have on the patient?     13   I guess, at the outset. So the things on your reference
   14         MS. HOFFMANN: Objection.                             14   list, some of them you did not read in their entirety?
   15         THE WITNESS: I'm going to make sure I hear the       15      A. That's correct.
   16      question correctly, but why don't you restate it and    16      Q. Because you could tell by the title that you
   17      then I can be much clearer of what you're asking.       17   didn't feel that they were necessarily determinative or
   18   BY MR. HONNOLD:                                            18   going to influence your opinion?
   19      Q. Sure. Okay. Are there any drugs that you're          19      A. No, it was a time factor and, plus, I didn't
   20   aware of where the plasma concentration level of a drug    20   think it was relevant to what I was going to be
   21   can be determinative of how much of an effect the drug     21   testifying about and that was gastroenterology.
   22   will have in the patient?                                  22      Q. What was the time factor issue? What do you
   23      A. Possibly.                                            23   mean?
   24      Q. Okay. And why do you say possibly?                   24      A. I'm very busy.


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    1     Q. Can you tell by going to your reference list,          1   strike that.
    2   which is in your report, Exhibit A, which of the ones       2         Before you started working on this case, you
    3   that you didn't read in their entirety?                     3   knew what a drug label was generally; right?
    4     A. Quite a few of the ones that the lawyers gave          4      A. Yes.
    5   me. I'd have to look at that myself.                        5      Q. You knew that they existed and that every
    6     Q. Go ahead.                                              6   medication had either what's called an approved label or
    7     A. I'm sorry. I'd have to look at the articles.           7   a package insert; right?
    8   There are quite a few here, so it's kind of hard for me     8      A. That's correct.
    9   to go through and pick -- pick through that list.           9      Q. Okay. And before you were retained on -- to
   10     Q. So you said there were quite a few of the ones        10   work on this case, in the course of your practice either
   11   that the lawyers gave you that you did not review in       11   as part of educating yourself so that you could provide
   12   their entirety; correct?                                   12   care and treatment to patients or as part of actually
   13     A. That's right.                                         13   providing care to a patient, have you ever looked at a
   14     Q. We can agree on that much. But is there a way         14   drug label or a package insert before?
   15   just by perusing through the list as we did before --      15      A. Not habitually. I have other sources where I
   16     A. Not really, no.                                       16   can get the information that I need.
   17     Q. Okay. So sitting here this evening, you               17      Q. Okay. And so even though you've not -- you say
   18   couldn't look at the reference list and determine which    18   that you've not done it habitually, have you done it
   19   of Items 1 through 41 you did or didn't read in their      19   episodically?
   20   entirety; correct?                                         20      A. Those are almost the same words as far as the
   21     A. Some of them, you know, I got this information        21   context, and I would have to say that I get my source of
   22   several months ago, so it's possible that I would be --    22   information on drugs from courses, articles, and also
   23   I couldn't recall all of them.                             23   devices, programs such as Epocrates which will give you
   24         MS. HOFFMANN: And when you ask her if she read       24   the information that I need quite quickly.


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    1      them in their entirety, you're not talking about the     1     Q. Would that include Xarelto?
    2      abstract, you're talking about reading the whole         2     A. No.
    3      article?                                                 3     Q. Where have you gotten your information that you
    4         (Telephone interruption.)                             4   know about Xarelto then if it's not been through the way
    5         MR. HONNOLD: It said object to the form only.         5   you just described?
    6      Isn't that what it said? It did.                         6     A. The information that I got was on NOACs in
    7         MS. HOFFMANN: When this one rang, it was at a         7   general.
    8      critical moment, and now this.                           8     Q. Okay. And the information that you got on
    9         MR. HONNOLD: Yeah, that's --                          9   NOACs in general, did you get it through the process
   10         MS. HOFFMANN: It said, "Shut up, you're making       10   that you just described?
   11      speaking objections."                                   11     A. If necessary, but remember I don't -- I don't
   12         MR. HONNOLD: There you go.                           12   prescribe it.
   13         MS. HOFFMANN: "Brad is going to yell." Sorry.        13     Q. Okay.
   14   BY MR. HONNOLD:                                            14     A. So it's -- you know, it's not something I
   15      Q. Based upon your work on this case, do you have       15   needed to delve down deeply into.
   16   any understanding as to how the level of plasma            16     Q. I've not been with you as you've practiced
   17   concentration of Xarelto in a patient's blood is related   17   medicine over the past few years, so I'm just trying to
   18   to the anticoagulant effect that the Xarelto is having     18   figure out as it relates to NOACs, before you were
   19   on the patient?                                            19   retained in this case, how was it that you got your --
   20         MS. WAY: Object to form.                             20   or developed your understanding or knowledge base about
   21         THE WITNESS: I'm sorry, I don't.                     21   NOACs?
   22                                                              22     A. It was in general through review courses and
   23   BY MR. HONNOLD:                                            23   online review sources. I'll have to really admit to you
   24      Q. Have you ever in your practice looked at --          24   that I've never looked at a drug insert from any of the


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    1   other NOACs.                                                1     Q. I'm going to hand back to you Exhibit 4, which
    2       Q. Okay. So before your -- before your work on          2   is the September 2015 package insert for Xarelto, and
    3   this case, you've never looked at the Xarelto label or      3   I'm going to specifically hand you the part that has --
    4   package insert; right?                                      4   includes page 9. I've highlighted some things there.
    5       A. No, sir.                                             5   Those highlighted sentences, can you -- can you read
    6       Q. You've never looked at it for Eliquis; right?        6   those?
    7       A. No.                                                  7           MS. WAY: Just one second.
    8       Q. You've never looked at it for Pradaxa?               8           MR. HONNOLD: Just to yourself.
    9       A. I had Epocrates on my phone. I could put the         9           MS. WAY: What did you title this again? I
   10   word in and dosage, adults, pediatrics. That's my          10     know it's an exhibit, but I -- for some reason think
   11   source.                                                    11     you misstated.
   12       Q. And I appreciate --                                 12           MR. HONNOLD: Xarelto label September 2015.
   13       A. And it's quick.                                     13           MS. WAY: Okay. Thanks.
   14       Q. Just humor me on letting me go through the          14           THE WITNESS: Okay.
   15   list?                                                      15   BY MR. HONNOLD:
   16       A. Yes, sir. I'm sorry.                                16     Q. And so do you see those highlighted sentences
   17       Q. So whatever the NOAC is in the family, however      17   where the phrase or term is used "rivaroxaban exposure"?
   18   many there are, you've not specifically looked at the      18     A. (Indicating.)
   19   package insert of any of them; right?                      19     Q. "Or drug exposure." Sorry.
   20       A. That's correct.                                     20           The highlighting, the yellow. So I think I've
   21       Q. Now, you've listed the label -- one of the          21   highlighted kind of three areas in sentences that
   22   forms of the label for Xarelto on your reference list.     22   include the term or phrase drug exposure. Do you see
   23   It's Item No. 48.                                          23   that?
   24       A. Uh-huh.                                             24     A. Okay. Uh-huh.


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    1     Q. How much of it did you or did you not look at          1      Q. Yes?
    2   related to your work on this case in preparation of your    2      A. Yes.
    3   report?                                                     3      Q. As you read those sentences that use the term
    4     A. I superficially read some of the titles of it.         4   or phrase "drug exposure," what does it mean to you,
    5   It was provided for me.                                     5   that term?
    6     Q. If you go to page 3 of your report, there is a         6      A. Basically, it means that a person has taken the
    7   sentence that says, "A list of the materials that I have    7   drug and it is active in their body.
    8   relied upon in forming my opinions in this case is          8      Q. Okay. And then what is it about as you read in
    9   attached as Exhibit A." Do you see that?                    9   the context of those highlighted areas, what is it about
   10         MS. WAY: Sorry. What page?                           10   certain situations that can result in increased drug
   11         MR. HONNOLD: Page 3, the top paragraph. It's         11   exposure? What does that mean?
   12     the sentence that starts "a list of materials."          12         MS. HOFFMANN: Objection. Form.
   13     It's about the middle of that top paragraph.             13         THE WITNESS: If you're referring to each of
   14         THE WITNESS: Yes.                                    14      the yellow highlights, exclusive of your
   15   BY MR. HONNOLD:                                            15      underlining --
   16     Q. Okay. So the label is on Exhibit A, so how is         16   BY MR. HONNOLD:
   17   it that you've relied upon the label in forming your       17      Q. Yes.
   18   opinions in this case?                                     18      A. -- they are talking about the creatinine
   19     A. Well, it was basically one of the sources, the        19   clearance of the drug.
   20   articles, that I was -- it was -- it was one of the        20      Q. Okay. And so what happens when the drug is
   21   parts of the materials that were provided to me by the     21   given to a patient with a certain level of creatinine
   22   lawyers, and not all of them were used to form my          22   clearance suggested by that label?
   23   medical opinion. My medical opinion was based on more      23         MS. HOFFMANN: Objection.
   24   how I practice gastroenterology.                           24         THE WITNESS: These readings suggest that a


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    1     certain level of the creatinine clearance, if it is       1     Q. Okay. As you read those highlighted sentences
    2     low, may increase exposure to the drug.                   2   and it talks about an increase in pharmacodynamic
    3   BY MR. HONNOLD:                                             3   effects, what does that mean to you?
    4     Q. Okay. And so increasing exposure to the drug,          4        MS. WAY: Object to form. Asked and answered.
    5   what does that mean?                                        5        MS. HOFFMANN: Objection.
    6         MS. HOFFMANN: Objection.                              6        THE WITNESS: You remember earlier I told you I
    7         THE WITNESS: There may be more of the drug            7     wasn't a pharmacology major and I'm not -- I'm not
    8     around or there may be a delay in its metabolism.         8     into doing the pharmacodynamics.
    9   BY MR. HONNOLD:                                             9   BY MR. HONNOLD:
   10     Q. Okay. And so we can agree then that an                10     Q. Okay. And if you can -- if you just say you
   11   increase in drug exposure may mean -- may mean more of     11   don't know that's fine, I'll move on.
   12   the drug around; correct?                                  12     A. Yeah, that's fine with me. I don't know.
   13         MS. WAY: Objection.                                  13        MS. WAY: Object to form.
   14         THE WITNESS: Well, it's -- I think that's            14   BY MR. HONNOLD:
   15     probably dose-related.                                   15     Q. Okay.
   16   BY MR. HONNOLD:                                            16     A. Would you like this back?
   17     Q. Okay. And there it suggests it's                      17        MR. HONNOLD: Did you get her "I don't know"?
   18   exposure-related; right?                                   18        THE COURT REPORTER: (Indicating.)
   19         MS. WAY: Objection.                                  19        MR. HONNOLD: "I don't know." Great.
   20         MS. HOFFMANN: Objection.                             20   BY MR. HONNOLD:
   21         THE WITNESS: I'm not reading that the same           21     Q. Do you know what the term "pharmadynamic
   22     way, sir.                                                22   effects" means?
   23   BY MR. HONNOLD:                                            23        MS. HOFFMANN: Objection.
   24     Q. All right. What's your understanding that if          24        THE WITNESS: The effects, the dynamic effects,


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    1   you give a group of patients who have had the same level    1     of a pharmacologic agent.
    2   of general background and health and you give them the      2   BY MR. HONNOLD:
    3   same dose of the medication, will they all have the same    3     Q. And so for Xarelto, what are the expected
    4   plasma concentration if it's measured two to four hours     4   pharmacodynamic effects of taking the drug?
    5   later after they take their first dose?                     5        MS. HOFFMANN: Objection.
    6         MS. HOFFMANN: Objection.                              6        THE WITNESS: I am not going to render opinion
    7         MS. WAY: Objection.                                   7     on that.
    8         THE WITNESS: There are a lot of parameters.           8   BY MR. HONNOLD:
    9     Are we talking about the normal, healthy people           9     Q. And is it the same, that you don't know?
   10     here?                                                    10     A. I am not going to render an opinion on that.
   11   BY MR. HONNOLD:                                            11     Q. Do you know what the pharmacodynamic effects of
   12     Q. Yes.                                                  12   Xarelto are?
   13     A. And what age are they?                                13        MS. WAY: Object to form.
   14     Q. Let's say age 60.                                     14        THE WITNESS: I am not an expert in
   15         MS. HOFFMANN: Objection.                             15     pharmacodynamics.
   16         THE WITNESS: I can't give an opinion on that.        16   BY MR. HONNOLD:
   17   BY MR. HONNOLD:                                            17     Q. Do you think you need to be an expert in
   18     Q. Okay. What's your expectation, that all those         18   pharmacodynamics to know what the expected
   19   people would have the same level of plasma concentration   19   pharmacodynamics effects of Xarelto are?
   20   or that it would vary?                                     20        MS. WAY: Object to form.
   21         MS. WAY: Object to form.                             21        THE WITNESS: That's not the situation in which
   22         MS. HOFFMANN: Objection.                             22     I'm called into this case.
   23         THE WITNESS: I don't know.                           23        MS. HOFFMANN: You're making me nervous with
   24   BY MR. HONNOLD:                                            24     that exhibit, Brad. Can we put it back with the


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    1     others?                                                   1     Q. Okay. And so in three and a half half-lives
    2         MS. WAY: I think he has his bank account              2   then as it relates to Xarelto, how far back would we
    3     number on it somewhere. Now everybody's got it.           3   have to go back from the 13th then?
    4   BY MR. HONNOLD:                                             4     A. The documented half-life is from five to nine
    5     Q. You said before that the effects -- or                 5   hours, so either that range, you multiply that by 3.5
    6   something along the lines that the NOACs are worked out     6   and you have an answer. In general, it's maybe one day
    7   of the system quickly or something along those lines.       7   to two days.
    8   Do you remember that?                                       8     Q. You told me that based upon your review of the
    9         MS. WAY: Object to form.                              9   medical records and other materials in this case that
   10         THE WITNESS: That's a very generalized               10   you felt the health care providers, including
   11     statement. Can you tell me exactly what I said?          11   Dr. Gholson, practiced within the standard of care
   12   BY MR. HONNOLD:                                            12   related to Ms. Mingo; correct?
   13     Q. No, I can't, but do you remember generally            13     A. In general, yes.
   14   saying something along those lines?                        14     Q. And so your view then is that when Dr. Gholson
   15     A. Not exactly.                                          15   saw Ms. Mingo on February 3 and saw that her hemoglobin
   16     Q. Okay. I was asking you in the area about              16   was 8.2 on aspirin and on Xarelto, it was reasonable to
   17   whether you've ever been involved in deciding to reverse   17   think at that time that Ms. Mingo may well be stable
   18   a NOAC. And you said something along the lines, well,      18   from that point forward and not have a further
   19   they tend to go out of the system quickly. Do you          19   deterioration in her hemoglobin; correct?
   20   remember that?                                             20     A. You would assume that, yes.
   21     A. I would have said that they may have had a            21     Q. Okay. Tell me why you would assume in her
   22   shorter half-life.                                         22   situation that as of February 3 that you would assume in
   23     Q. Okay. And what's the significance of a NOAC           23   that situation with positive stool tests as of that time
   24   having a shorter half-life?                                24   and with a hemoglobin of 8.2 and being on Xarelto and


                                                   Page 163                                                           Page 165
    1     A. Well, it means that the body's able to clear it        1   aspirin, why would it be reasonable for a physician to
    2   much quicker.                                               2   presume that her patient, Ms. Mingo, would remain stable
    3     Q. And when the body clears the drug then, will it        3   and not realize a further drop in her hemoglobin going
    4   stop having its effects?                                    4   forward?
    5     A. Yes.                                                   5         MS. HOFFMANN: Objection. Incomplete
    6     Q. And will it stop contributing to disruption of         6      hypothetical.
    7   the body's clotting cascade?                                7         THE WITNESS: That's actually a common
    8     A. Possibly, yes.                                         8      scenario. The patient was very stable when she was
    9     Q. And will it stop contributing to a patient's           9      seen by Dr. Gholson, and there was no active
   10   bleeding -- that the patient's having -- been having       10      bleeding that could be assessed. Her vital signs
   11   bleeding as a result before?                               11      were stable. That's quite common in
   12         MS. WAY: Object to form.                             12      gastroenterology practices.
   13         THE WITNESS: It depends upon what the cause of       13   BY MR. HONNOLD:
   14     the bleeding is.                                         14      Q. Okay. And the presumed source of the hemoccult
   15   BY MR. HONNOLD:                                            15   positive stool was what?
   16     Q. At what point in time before February 13 could        16      A. We don't know. That's why she was referred to
   17   Ms. Mingo's Xarelto have been stopped so that it would     17   a consultant to answer that question.
   18   have stopped having an effect on her clotting cascade?     18      Q. But that positive hemoccult stool test suggests
   19         MS. HOFFMANN: Objection.                             19   that she does have blood somewhere in her GI tract;
   20         MS. WAY: Object to form.                             20   correct?
   21         THE WITNESS: Well, we discussed half-life, and       21      A. Somewhere, yes.
   22     usually a drug is completely metabolized in three        22      Q. Have you told me all the reasons why it would
   23     and a half half-lives.                                   23   be reasonable to assume -- to have assumed on February 3
   24   BY MR. HONNOLD:                                            24   that going forward Ms. Mingo was going to remain stable


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    1   and not have further degradation of her hemoglobin?        1     Q. If you go to the middle paragraph, or,
    2      A. In general, I hit on the high points in that         2   actually, it's the paragraph that begins with the phrase
    3   she was stable, she walked in unassisted, she had no       3   "on February 12, 2015." Do you see that?
    4   obvious overt signs of instability.                        4     A. Yes, sir.
    5      Q. If Ms. Mingo's Xarelto had been stopped on           5     Q. The last sentence in that paragraph says,
    6   February 3, how long would it have taken for it to have    6   quote, "That same afternoon Ms. Mingo was diagnosed with
    7   stopped having an effect on her coagulation cascade?       7   an acute upper GI bleed." Do you see that?
    8      A. As I answered earlier, three and a half              8     A. Yes, sir.
    9   half-lives would be in general, the time frame.            9     Q. And do you know who it was that made that
   10      Q. So the same -- the same formula works on a          10   diagnosis?
   11   prospective basis as well going forward?                  11     A. Dr. Casey -- Casey, excuse me.
   12      A. Yes, sir. But, again, though, remember she's        12     Q. And I take it that you agree with Dr. Casey's
   13   also on an antiplatelet agent, the aspirin.               13   diagnosis?
   14      Q. As part of your work on this case, have you         14     A. That was her -- excuse me. Yes.
   15   reviewed any materials that were generated by the FDA     15     Q. And what does the phrase mean "acute upper GI
   16   related to the approval of Xarelto for any of its         16   bleed"? What does that mean to you as a
   17   approved indications?                                     17   gastroenterologist?
   18      A. Not specifically from the FDA.                      18     A. Well, it means that with her presentation there
   19         MS. HOFFMANN: I'm sorry. Can you repeat the         19   were factors that were highly suggestive, and if you
   20      question? Just read it back.                           20   look at the sentence that is in quotation, "Reports
   21         (The question was read by the reporter.)            21   black stools since January 9 and says she was put on
   22         MS. HOFFMANN: I assume you're not including         22   Xarelto around the 23rd of January."
   23      the label that you've marked as exhibit whatever?      23     Q. But what does the phrase "acute upper GI bleed"
   24      You're talking about other documents.                  24   mean?


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    1         MR. HONNOLD: Other than the label.                   1      A. The "acute" part of it was the notation of what
    2         THE WITNESS: Okay.                                   2   her hemoglobin was, but that was basically how I worded
    3   BY MR. HONNOLD:                                            3   it, and that was consistent with what the diagnosis was
    4     Q. The answer is still no?                               4   in the ER.
    5     A. Correct.                                              5      Q. So the phrase "acute upper GI bleed" in that
    6     Q. Why would -- well, strike that. I've asked            6   sentence, were those words -- was that your choice of
    7   you. I get it.                                             7   words or did it come from --
    8         MR. HONNOLD: Oh, sorry. What did you say?            8      A. It wasn't in quotations, so it could have been
    9         MS. HOFFMANN: I think she's getting tired.           9   on the records from Dr. Casey, but it means that a GI
   10         MR. HONNOLD: Do you want to take a little           10   bleed that had occurred over a shorter period of time.
   11     break?                                                  11      Q. And because it's not in quotations, it means
   12         MS. HOFFMANN: Do you want some coffee?              12   you picked the words in that sentence; correct?
   13         MR. HONNOLD: Let's go off the record real           13      A. I wrote the sentence.
   14     quick.                                                  14      Q. Okay. And had the ability to pick whatever
   15         THE VIDEOGRAPHER: The time now is 7:57 p.m.         15   words you wanted to use; right?
   16     We are off the record.                                  16      A. Yes.
   17         (Recess from 7:57 p.m. until 8:09 p.m.)             17      Q. And those are the ones you chose?
   18         THE VIDEOGRAPHER: This begins Disk 4 of             18      A. That's correct.
   19     today's deposition. The time now is 8:09 p.m. We        19      Q. Because you felt that they were right and
   20     are back on the record.                                 20   appropriate under the circumstances; correct?
   21   BY MR. HONNOLD:                                           21      A. And also there was evidence from the medical
   22     Q. Now, Doctor, we're back on the record after a        22   records that she had had a change in her hemoglobin.
   23   short break. Go to page 6, please, in your report.        23      Q. At some point in your report you state that you
   24     A. I'm there.                                           24   agree with some doctor -- doctor's testimony that


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    1   Ms. Mingo's bleeding would have been the same if she        1   Lovenox and aspirin.
    2   would have been on some other NOAC or other                 2      Q. Let me finish my question. So is it your
    3   anticoagulant. Do you recall saying that somewhere in       3   understanding in terms of Ms. Mingo's medical history
    4   your report?                                                4   that she had not been taking daily aspirin before her
    5      A. Could you point that out for me, please?              5   hip surgery?
    6      Q. Sure, yes.                                            6      A. She had been taking low dose aspirin --
    7          MS. WAY: I think it's the top of page 12.            7      Q. Why?
    8      Well, first paragraph underneath the heading.            8      A. -- for quite a while.
    9   BY MR. HONNOLD:                                             9      Q. What was the indication? That's where I was
   10      Q. If you go to that first paragraph under --           10   going with my question.
   11   actually, the first full paragraph on page 12, you see     11      A. Well, you know, she had osteoarthritis, but
   12   the sentence that reads, quote, "I further agree with      12   some physicians prescribe it prophylactically.
   13   Dr. Keith's testimony that Ms. Mingo's clinical course     13      Q. And that's my point. Based upon your review of
   14   would not have been any different had she taken a          14   her medical records, what was the indication as to why
   15   different anticoagulant." Did I read that correctly?       15   she was taking long-term low dose aspirin?
   16      A. That is correct.                                     16      A. Well, sir, I take a low dose of aspirin because
   17      Q. Okay. Tell me what all the bases are for             17   of its cardioprotective effects, but I can't
   18   support that you rely upon for that statement.             18   specifically tell you in this situation, but she has
   19      A. Because it's really supported by the medical         19   taken it long-term as revealed in the medical records.
   20   literature.                                                20      Q. And so that's my question. Based upon the
   21      Q. Which medical literature?                            21   medical records reviewed, is there any statement
   22      A. Anticoagulants as a general class can cause          22   anywhere that specifies the indication as to why she'd
   23   bleeding.                                                  23   been on long-term low dose aspirin, whether it's primary
   24      Q. Well, you've --                                      24   cardioprotection, secondary prevention, some other


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    1      A. We as gastroenterologists don't really do a           1   reason?
    2   whole lot of subcategorizing when a person comes in on      2      A. I would have to comb the records to look for
    3   an anticoagulant. Our job is to identify the source of      3   that specific reason.
    4   bleeding.                                                   4      Q. And you don't state it anywhere affirmatively
    5      Q. Well, that's why I'm trying to understand             5   in your report; correct?
    6   exactly what are the specific bases for that opinion.       6      A. Not for the low dose aspirin.
    7   What are all the things that you rely upon? Is it           7      Q. Does the label for Xarelto suggest anywhere
    8   specific articles, specific entries in the medical          8   that when Xarelto is given for the treatment of DVT that
    9   record, what are all your specific bases for that -- for    9   it should be given in combination with full
   10   that statement?                                            10   325-milligram aspirin?
   11      A. It's based on a 30-year history of practice in       11      A. I think that the label dealt with it
   12   gastroenterology and my clinical experience in this        12   independently.
   13   field.                                                     13      Q. Here's my question: Does the label anywhere
   14      Q. For how long prior to February 13 had Ms. Mingo      14   for the DVT treatment indication suggest that if Xarelto
   15   been taking aspirin?                                       15   is going to be given for that purpose that it should
   16      A. She'd been on it quite a while.                      16   also be given with 325-milligram aspirin?
   17      Q. And what was the -- your understanding as to         17      A. And my answer was that this label dealt with it
   18   the indication as to why she was on aspirin?               18   independently.
   19      A. I'm not exactly clear, but I would think that        19      Q. What does that mean?
   20   it also provides some anticoagulation and she had had a    20      A. It means that it addressed Xarelto.
   21   clot.                                                      21      Q. Meaning the indication states that it can be
   22      Q. Is it your understanding then that Ms. Mingo         22   given independent or without aspirin for treatment of
   23   was -- was -- had only been given aspirin for --           23   DVT; correct?
   24      A. No, she was given an anticoagulant. She'd had        24      A. No, sir. Those were your words. It refers to


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    1   how Xarelto is used to treat different scenarios when       1         THE WITNESS: I'm not sure because as I stated
    2   anticoagulation is needed.                                  2     previously, I don't treat DVTs.
    3      Q. Okay. Does the label suggest that if Xarelto          3   BY MR. HONNOLD:
    4   is to be given for DVT treatment that it should also be     4     Q. Okay. So is it true that you can't speak to
    5   given along with aspirin? Does the label state that?        5   the standard of care then as it relates to prescribing
    6      A. I'm not exactly certain of that, sir, but I           6   aspirin with anticoagulation in the context of DVT
    7   don't think so.                                             7   treatment?
    8      Q. Who was it exactly based upon your reading of         8         MS. WAY: Object to form.
    9   the records that was kind of in charge of the situation     9     A. If I don't -- I'm sorry. If I don't treat a
   10   and suggested that Ms. Mingo go back -- be given           10   specific entity, I'm not going to be able to give an
   11   325-milligram aspirin at the same time she was taking      11   opinion on that.
   12   Xarelto? Who was that?                                     12     Q. Okay. It's getting late, okay, and this is a
   13      A. It would have been the physician that was in         13   question that's going to be kind of pretty specific.
   14   the hospital when she had the DVT, if I'm correct.         14   Okay? So when I ask you the question, if you don't
   15      Q. And your view is that's consistent with and          15   understand it or don't track it, ask me to restate it.
   16   within the standard of care for treatment of DVT to give   16   Okay, and I'll do my best.
   17   15 milligrams of Xarelto twice daily in combination with   17         But here's the question: Anywhere in your
   18   325-milligram aspirin?                                     18   report do you comment on -- do you comment on whether or
   19          MS. WAY: Object to form.                            19   not Ms. Mingo would have had her acute GI bleed that was
   20          THE WITNESS: I'm sorry, I'm not an expert in        20   diagnosed on February 13 if her Xarelto and aspirin had
   21      treating DVTs.                                          21   been discontinued on February 3? Do you comment on that
   22   BY MR. HONNOLD:                                            22   issue one way or the another in your report?
   23      Q. Okay. So you don't know whether that's within        23         MS. WAY: Object to form.
   24   the standard of care or not?                               24         THE WITNESS: I don't -- I'm sorry. I don't


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    1      A. No, I don't.                                          1      reference that point at all in my report.
    2      Q. Okay. So when I asked you before whether it           2   BY MR. HONNOLD:
    3   was your view that all the health care providers acted      3      Q. And do you reference anywhere or at all in your
    4   within the standard of care, and you said yes, there        4   report whether or not Ms. Mingo would have had her acute
    5   would be some qualification to that because there were      5   GI bleed that was diagnosed on February 13 if she had
    6   some -- some health care providers that you don't           6   not been on aspirin for the many days prior to
    7   necessarily feel qualified on passing as to whether they    7   February 13?
    8   met the standard of care or not; right?                     8         MS. WAY: Object to form.
    9         MS. WAY: Object to form.                              9   BY MR. HONNOLD:
   10         THE WITNESS: Now, you -- I basically gave a          10      Q. Do you comment on that issue one way or the
   11      qualifier when I gave my answer. I said within a        11   other?
   12      reasonable standard of care, and I think that's         12      A. Restate the question.
   13      pretty well documented on the records.                  13      Q. Sure. In your report, do you comment on the
   14   BY MR. HONNOLD:                                            14   issue one way or the other as to whether Ms. Mingo would
   15      Q. So you think all of the health care providers,       15   have had her acute GI bleed that was diagnosed on
   16   everyone met a reasonable standard of care; is that        16   February 13 if her aspirin would have been stopped on
   17   right?                                                     17   February 3?
   18         MS. WAY: Object to form.                             18      A. You have a lot of parts to that question.
   19         THE WITNESS: That's what I stated.                   19      Q. Yeah.
   20   BY MR. HONNOLD:                                            20      A. But your -- your focus has been on stopping
   21      Q. Okay. And that's true as it relates to the           21   aspirin, the dates and the acute GI bleed, so that's a
   22   prescription of 325-milligram aspirin along with           22   very specific question, and you'd have to read the whole
   23   Xarelto?                                                   23   report to see if I mentioned something about stopping
   24         MS. WAY: Object to form.                             24   the aspirin.


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    1     Q. Okay. And that's just --                               1   well?
    2     A. It's just, you know, there's a -- I wouldn't           2      A. Well, what you want to do is to have it in a
    3   have asked that question that way in my profession.         3   range that's effective, and of course you don't want any
    4     Q. Okay. My only question for you is: You have            4   adverse effects from the medication.
    5   not stated an opinion one way or the other in the report    5      Q. And is that why there's an upper limit also put
    6   as to whether or not Ms. Mingo would have had the acute     6   on the range?
    7   GI bleed diagnosed on February 13 if the aspirin had        7      A. There's a -- there's a range.
    8   been stopped on the 3rd? That's not something that you      8      Q. Okay.
    9   comment on one way or the other; correct?                   9      A. And it does vary according to whatever the
   10     A. Not that I know of.                                   10   clinical entity is.
   11     Q. Similarly, you do not comment in your report          11      Q. And why is it that in a particular patient that
   12   one way or the other if Ms. Mingo would have had her GI    12   you might not want the upper range of the INR to exceed
   13   bleed, acute GI bleed that was diagnosed on February 13    13   a certain level?
   14   if just her Xarelto had been discontinued on               14      A. Some physicians require that. They may need
   15   February 3rd, you don't comment on that in your report     15   that degree of anticoagulation.
   16   one way or the other; correct?                             16      Q. I know, but why might you not -- why don't you
   17     A. No, sir. The medical records basically say she        17   want it to go beyond a certain level?
   18   was on the drug until the 13th.                            18         MS. HOFFMANN: Objection.
   19     Q. Do you know one way or the other whether a            19         THE WITNESS: That would -- I'm sorry. That
   20   higher plasma concentration level of rivaroxaban can       20      would have to be a question for that particular
   21   result in an increased risk of bleeding?                   21      prescribing physician.
   22        MS. WAY: Objection.                                   22   BY MR. HONNOLD:
   23        MS. HOFFMANN: Objection.                              23      Q. Have you ever managed patients' Coumadin in
   24        THE WITNESS: I'm not a pharmacologist.                24   your practice?


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    1   BY MR. HONNOLD:                                             1      A. No, I haven't.
    2       Q. What is your understanding generally of how the      2      Q. Do you agree that the issue of whether or not
    3   INR is used to manage patients on warfarin?                 3   to restart anticoagulation in a patient who has had an
    4       A. INR is a monitoring lab that's used when people      4   acute gastrointestinal bleed is a decision that is
    5   are exposed to that drug.                                   5   individualized based on the risks and benefits for the
    6       Q. And why is it used?                                  6   specific patient as well as the patient's values and
    7       A. Because it sets a therapeutic window for             7   preferences?
    8   whatever particular entity the physician is prescribing     8      A. That's a lot of parts to that question.
    9   it for.                                                     9      Q. Okay.
   10       Q. And when you say sets a window, what do you         10      A. Could you take it by the -- the latter part of
   11   mean by that?                                              11   the question, could you restate it?
   12       A. The range in which the drug needs to be kept in     12      Q. Sure. In terms of the decision as to whether
   13   order to be effective.                                     13   or not to restart anticoagulation in a patient who has
   14       Q. And is effective the only concern with the          14   suffered an acute gastrointestinal bleed, would you
   15   window, or is there also a --                              15   agree that that decision is individually based on the
   16       A. I'm sorry.                                          16   risks and benefits for the specific patient as well as
   17           MS. WAY: I missed that.                            17   the patient's values and preferences?
   18           THE WITNESS: Could you restate it? I'm sorry.      18      A. Both of those things are pertinent, yes.
   19   BY MR. HONNOLD:                                            19      Q. Okay. And why is it that the patient's values
   20       Q. Sure. In terms of the INR range for warfarin,       20   and preferences are pertinent to that decision?
   21   you said that it sets the range to keep the drug in so     21      A. The patient always has control over their
   22   it's effective. Is there also a safety component to the    22   medical decisions.
   23   range, meaning the hope is to keep it within the range     23      Q. Do you have an understanding as to whether or
   24   to potentially reduce or manage the risk of bleeding as    24   not Ms. Mingo continues to take aspirin for any reason?


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    1      A. What time frame are you talking about, sir?           1   walk across the room you could -- you're asking your
    2      Q. The last time that you have looked at medical         2   body to generate more oxygen and therefore you develop
    3   records related to her or from reading her deposition?      3   dyspnea because of those reasons.
    4      A. To my knowledge, I think she was prescribed           4      Q. As part of your work on this case, did you
    5   aspirin.                                                    5   specifically do medical literature search on trying to
    6      Q. And at that time when she was prescribed              6   identify all of the studies or papers that are out there
    7   aspirin, do you know why it was continued to be             7   that compare, that take a comparative look at the rate
    8   prescribed for her specifically?                            8   or incidence of gastrointestinal bleeding in patients on
    9      A. To my recollection, after documentation that          9   NOACs?
   10   her ulcer had healed she had chosen not to restart the     10      A. I looked at the general information.
   11   Xarelto.                                                   11      Q. Okay. And for you to have looked at the
   12      Q. But my question is: Do you know why the              12   general information, would it be information that would
   13   decision was made to continue aspirin?                     13   be included in the UpToDate articles?
   14      A. I would assume that it was some type of              14      A. Yes, sir.
   15   prophylaxis for further development of DVTs.               15      Q. Okay. So if you -- if you yourself did
   16      Q. What is dyspnea?                                     16   searches or looked for that information, it would be
   17      A. Dyspnea is a term to describe difficulty in          17   limited to the information that's in those UpToDate
   18   breathing.                                                 18   articles; true?
   19      Q. Can hypovolemia be one possible cause of             19      A. They're very complete, and the reason the
   20   dyspnea?                                                   20   search engine is called UpToDate is because it is a
   21      A. Not necessarily.                                     21   review of the most current and strongly evidence-based
   22      Q. Can it be?                                           22   medicine that's available.
   23      A. It could be.                                         23      Q. In terms of the articles that were sent to you
   24      Q. How is it then that dyspnea -- or how is it          24   by counsel, do you have any idea of what search terms


                                                   Page 183                                                     Page 185
    1   that hypovolemia can cause or contribute to cause           1   they used or how comprehensive the search was that
    2   dyspnea?                                                    2   whoever it was that came up with that universe of
    3     A. Well, you see it's rare that hypovolemia by            3   articles used to create that batch of stuff they sent to
    4   itself is the cause of dyspnea. Dyspnea means that the      4   you?
    5   patient is lacking oxygen and if they're anemic that        5          MS. WAY: Object to form.
    6   means that they don't have enough hemoglobin attached to    6          THE WITNESS: No, sir. I'm sorry. No, sir,
    7   the red cell to appropriately oxygenate their blood. So     7      I'm not privy to that information.
    8   that is independent of whether the person has               8   BY MR. HONNOLD:
    9   hypovolemia or euvolemia. E-u-v-o-l-e-m-i-a.                9      Q. Did you assume that it was comprehensive or not
   10     Q. So can a significantly reduced hemoglobin cause       10   comprehensive or you didn't think about it one way or
   11   dyspnea?                                                   11   the other?
   12     A. In some settings, maybe.                              12      A. I wouldn't have assumed that.
   13     Q. And explain how in those settings where it can        13      Q. Have you ever been a plaintiff or a defendant
   14   happen, how it happens. What's the pathophysiology         14   in a lawsuit?
   15   involved?                                                  15      A. Have I ever been a plaintiff -- a defendant for
   16     A. Usually the patient is trying to exert                16   a plaintiff in a lawsuit?
   17   themselves walking or doing strenuous exercises or         17      Q. No. A defendant or a plaintiff.
   18   things of that nature.                                     18      A. A defendant or a plaintiff?
   19     Q. And is it due to the lack of or reduced oxygen        19      Q. Or a plaintiff in a lawsuit?
   20   carrying capability of the blood that can contribute to    20      A. Yes.
   21   the dyspnea?                                               21      Q. Tell me about them.
   22     A. Your oxygen demand has increased. You're doing        22      A. I've had one lawsuit in my 30-year career.
   23   something that physically exerts yourself. If you're       23      Q. Where you were a defendant?
   24   sitting quietly, there won't be any dyspnea, but if you    24      A. Yes.


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    1     Q. Okay. And have you ever been a plaintiff in a         1      Q. Have you ever had your medical staff privileges
    2   lawsuit? Have you ever sued anyone related to anything?    2   at any facility suspended, limited, revoked in any way?
    3     A. No, sir, not yet.                                     3      A. Only if I didn't sign my charts occasionally.
    4     Q. The case where you were a defendant, what were        4      Q. Okay. Tell me about that.
    5   the nature and circumstances of that case?                 5      A. If there's a hospital where I didn't sign a
    6     A. The circumstance was an elderly lady who had a        6   chart for a medical record, they might put me on
    7   colonoscopy, and during the procedure she had a tear in    7   suspension until I signed my charts.
    8   her colon, which resulted in her going to the hospital     8      Q. Other than those situations, have you ever had
    9   and having an operation to repair the tear. She briefly    9   your medical staff privileges limited, revoked or
   10   had an ICU stay and then recovered completely.            10   suspended?
   11     Q. And what happened to the case?                       11      A. No, sir.
   12     A. It was dismissed basically because there was no      12      Q. Ever had any action taken on your license?
   13   merit in it. I guess you could say I won that case. I     13      A. No, sir.
   14   may not be saying it right because I'm not a lawyer.      14      Q. Ever had a grievance or complaint filed against
   15     Q. Was there a trial?                                   15   you with the Mississippi Board of Healing Arts?
   16     A. Yes, it was.                                         16      A. Board of Healing Arts?
   17     Q. There was a trial?                                   17      Q. Whatever you call your licensing agency in
   18     A. Yes.                                                 18   Mississippi.
   19     Q. Where the jury found for you?                        19      A. There may have been one.
   20     A. Yes.                                                 20      Q. What was it?
   21     Q. Okay. Well, you won.                                 21      A. Let's see. I think the patient -- I really
   22     A. I did win.                                           22   can't remember, but I know I had to submit a report and
   23     Q. Okay. Don't -- don't hesitate. You won.              23   that -- it was deemed in my favor. It was probably
   24     A. I just don't know the terminology.                   24   about four or five years ago.


                                                   Page 187                                                               Page 189
    1      Q. Winning is good. Was it appealed or something        1     Q. Generally do you recall what the patient or the
    2   to where that decision of the jury was overturned?         2   patient's family was complaining about?
    3      A. It was not overturned.                               3     A. The patient himself, I think, was complaining
    4      Q. In terms of the hospitals over the years where       4   about -- I just can't -- I can't recall. I can't
    5   you've had medical staff privileges, have you ever been    5   recall.
    6   on the therapeutics committee?                             6     Q. Have you spoken with anyone who is employed by
    7      A. Back in Galveston.                                   7   Bayer or Janssen related to this case?
    8      Q. And what would have been the end of that time?       8     A. Only the attorneys.
    9      A. I was in Galveston from 1982 to 1997.                9     Q. Okay. Do you get called upon by sales
   10      Q. Okay. So you wouldn't have been on a                10   representatives from Bayer or Janssen for Xarelto?
   11   therapeutics committee since 1997?                        11     A. No, sir.
   12      A. I am on a therapeutics committee now with an        12     Q. Other than what we've talked about so far, can
   13   insurance company.                                        13   you tell me all the times when you have undertaken
   14      Q. Okay. Tell me about that.                           14   consultative work for a pharmaceutical company?
   15      A. I'm a member of a therapeutic -- pharmacy and       15     A. Probably about three.
   16   therapeutic committee for Blue Cross and Blue Shield of   16     Q. Okay. What are those -- what are those?
   17   Mississippi.                                              17     A. I think I listed them earlier. Silicone breast
   18      Q. Okay. And what is involved in that work?            18   implants, Propulsid, maybe Reglan.
   19      A. I advise on gastrointestinal drugs.                 19     Q. What would you -- we hadn't talked about
   20      Q. In terms of your work on this case, do you know     20   Reglan. What did you do on Reglan?
   21   whether you specifically looked at any data from the      21     A. I think it was a case about side effects of
   22   Bayer ODIXa-DVT Phase II clinical trial?                  22   Reglan, but I'm not exactly sure. I'm not sure. That
   23      A. I'm not -- I don't recall that specific title,      23   was in the remote past.
   24   sir.                                                      24     Q. Can long-term use of Reglan cause tardive


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    1   dyskinesia?                                                 1     A. I basically stopped doing it before that
    2       A. Tardive?                                             2   anyway.
    3       Q. Tardive dyskinesia.                                  3     Q. Okay. Well, what's the -- I don't get the
    4          MS. HOFFMANN: Objection.                             4   connection. Why did you say that there's -- you stopped
    5          MS. WAY: Object to form.                             5   doing that when the Sunshine Act came into effect?
    6          THE WITNESS: Is this relevant to this case?          6        MS. WAY: Object to form. Are we talking about
    7   BY MR. HONNOLD:                                             7     consulting work generally? What's your --
    8       Q. No. I just want to know.                             8        MR. HONNOLD: We're just talking about she said
    9       A. It's listed in the medical literature as one of      9     "Hey, I stopped doing that once the Sunshine Act
   10   the side effects, and sometimes tardive dyskinesia can     10     came into effect."
   11   be permanent.                                              11        MS. WAY: I know, but what is that? What is
   12       Q. What companies did you work for on the Reglan       12     that? I don't remember.
   13   litigation?                                                13   BY MR. HONNOLD:
   14       A. That's what I said, I can't -- I can't              14     Q. I don't know either. It was consultative
   15   remember.                                                  15   speakers bureau work that you did for pharmaceutical
   16       Q. When's the last time you did work on a Reglan       16   companies. You said you stopped doing it after the
   17   case?                                                      17   Sunshine Act.
   18       A. It had to be over seven to 10 years ago, if at      18     A. I basically had stopped doing it before that.
   19   all.                                                       19     Q. What Sunshine Act are you talking about?
   20       Q. Currently do you prescribe Reglan long-term for     20     A. You're not familiar with that?
   21   patients?                                                  21     Q. No. Tell me about it.
   22       A. I try not to.                                       22     A. Well, it's basically a reporting system that
   23       Q. Why?                                                23   pharmaceutical companies do for the government that
   24       A. Because of the side effects.                        24   actually tracks the amount of reimbursement physicians


                                                Page 191                                                           Page 193
    1      Q. Including movement disorders?                         1   get for multiple things, including speaking engagements.
    2      A. That's usually one of the them.                       2   But as I said earlier, I had stopped doing that much
    3      Q. Have you ever served on a pharmaceutical              3   earlier than when the Sunshine Act --
    4   company's speakers bureau?                                  4     Q. Okay. So if we were going to have a do-over
    5      A. In the remote past.                                   5   then when you told me that that stopped at a certain
    6      Q. Tell me about those situations.                       6   time, you wouldn't have said anything about the Sunshine
    7      A. Well, you know, basically, I stopped doing that       7   Act because they weren't related; right?
    8   once the Sunshine Act came into place, but in the past I    8     A. Yeah, you know, that's just one emphasis. A
    9   have spoken on proton pump inhibitors, speaker bureaus      9   lot of physicians stopped doing that.
   10   mostly.                                                    10     Q. Why?
   11      Q. Which company specifically?                          11        MS. WAY: Object to form.
   12      A. There's so many.                                     12        THE WITNESS: I don't know why they did, but I
   13      Q. Which ones did you work for?                         13     just didn't need to do it.
   14      A. Let me think.                                        14   BY MR. HONNOLD:
   15      Q. Okay.                                                15     Q. What would the Sunshine Act have to do with it?
   16      A. Probably the makers of Nexium or Prilosec.           16     A. It was a public record that made physicians
   17   There's something else I also did, but I can't exactly     17   look unfavorable because they were accepting money for
   18   be sure. That wasn't something that I commonly did.        18   speaking engagements. But there were a lot of things
   19      Q. Are you currently doing any work for the makers      19   that were included in that, including meals and taking
   20   of Nexium or Prilosec?                                     20   their spouses on trips where there were lectures on
   21      A. No, sir.                                             21   drugs and things of that nature.
   22      Q. You said something about the Sunshine Act, that      22     Q. And so you've heard some doctors say they'd
   23   you stopped doing that once the Sunshine Act came into     23   just as soon there not be a public record on that?
   24   effect. What did --                                        24        MS. HOFFMANN: Objection.


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    1         MS. WAY: That mischaracterizes her testimony,       1       reference list, which already is included in the
    2     Brad.                                                   2       current copy of Exhibit 2.
    3         THE WITNESS: I didn't say that. You said            3         (Reeves-Darby Exhibit No. 5 was marked for
    4     that.                                                   4    identification.)
    5   BY MR. HONNOLD:                                           5           MR. HONNOLD: And then just so the record is
    6     Q. Well, then why did you say that that was one         6       very clear, I am then going to mark as Exhibit 6 the
    7   reason why they stopped doing it?                         7       copy of the reference list that we originally
    8     A. I gave a generalization of what the Sunshine         8       removed --
    9   Act disclosed.                                            9           MS. WAY: That's fine.
   10     Q. But you've never said a doctor said that the        10           MR. HONNOLD: -- from Exhibit 2, just so it's
   11   reason that they stopped doing speakers bureau work or   11       very clear. With that, I think we're done. Thank
   12   going on trips was because of the Sunshine Act?          12       you.
   13     A. I don't -- no, I don't usually talk to doctors      13           (Reeves-Darby Exhibit No. 6 was marked for
   14   about why they do speakers' benefits.                    14    identification.)
   15         MR. HONNOLD: Okay. Hey, thanks for your time       15           MS. WAY: Okay.
   16     and courtesy. It was nice to meet you. Wish you        16           THE VIDEOGRAPHER: The time now is 8:45 p.m.
   17     the best. Take care.                                   17       Today's deposition of Dr. Vonda Reeves-Darby,
   18         MS. WAY: Can we stay on the record for one         18       consisting of four disks, is now concluded.
   19     second?                                                19           (Whereupon, the deposition concluded at
   20         THE VIDEOGRAPHER: Do you want to go off the        20    8:45 p.m.)
   21     record?                                                21
   22         MS. WAY: Go off for one second.                    22
   23         THE VIDEOGRAPHER: The time is 8:43 p.m. We         23
   24     are off the record.                                    24


                                                     Page 195                                                                 Page 197
    1        (Recess from 8:43 p.m. until 8:44 p.m.)              1               CERTIFICATE
    2        THE VIDEOGRAPHER: The time now is 8:44 p.m.          2
    3     We are back on the record.                              3         I, JOAN L. PITT, Registered Merit Reporter,
    4        MS. WAY: Can I attach this as an exhibit to          4   Certified Realtime Reporter, and Florida Professional
    5     the deposition? This is her updated reference list      5   Reporter, do hereby certify that, pursuant to notice,
    6     that you incorporated into her report. I just           6   the deposition of VONDA G. REEVES-DARBY, MD, was duly taken
    7     wanted to have a clean copy to reflect that this is     7   on February 15, 2017, at 4:11 p.m., before me.
    8     the revised reference list. I wanted to attach          8         The said VONDA G. REEVES-DARBY, MD, was duly sworn
    9     that --                                                 9   by me according to law to tell the truth, the whole
   10        MR. HONNOLD: Do you want me to put the old one      10   truth, and nothing but the truth, and thereupon did
   11     then back in there?                                    11   testify as set forth in the above transcript of
   12        MS. WAY: No. I just want the record to              12   testimony. The testimony was taken down
   13     reflect that that's the revised copy. I just want      13   stenographically by me. I do further certify that the
   14     to attach that as an exhibit.                          14   above deposition is full, complete, and a true record of
   15        MR. HONNOLD: Okay. Well, I get it's revised         15   all the testimony given by the said witness.
   16     from what? I kind of want it to show what it was       16
   17     revised from then so that the record's clear as        17         _____________________________________________
   18     to --                                                  18         JOAN L. PITT, RMR, CRR, FPR
   19        MS. WAY: That's fine too.                           19
   20        MR. HONNOLD: -- what it was changed from. So        20         (The foregoing certification of this transcript
   21     just so it's clear on the record then, we're going     21   does not apply to any reproduction of the same by any
   22     to mark as Exhibit No. --                              22   means, unless under the direct control and/or
   23        MS. WAY: 5.                                         23   supervision of the certifying reporter.)
   24        MR. HONNOLD: -- 5 a copy of the revised             24



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    1               INSTRUCTIONS TO WITNESS                          1            ACKNOWLEDGMENT OF DEPONENT
    2                                                                2
    3                                                                3        I, ______________________________, do hereby
    4         Please read your deposition over carefully and         4   acknowledge that I have read the foregoing pages,
    5    make any necessary corrections. You should state the        5   1 - 201, and that the same is a correct transcription of
    6    reason in the appropriate space on the errata sheet for     6   the answers given by me to the questions therein
    7    any corrections that are made.                              7   propounded, except for the corrections or changes in

    8                                                                8   form or substance, if any, noted in the attached Errata
                                                                     9   Sheet.
    9         After doing so, please sign the errata sheet
                                                                    10
   10    and date it. It will be attached to your deposition.
                                                                    11
   11
                                                                    12   ________________________________ ________________
   12          It is imperative that you return the original
                                                                    13   VONDA G. REEVES-DARBY, MD                      DATE
   13    errata sheet to the deposing attorney within thirty (30)
                                                                    14
   14    days of receipt of the deposition transcript by you. If
                                                                    15
   15    you fail to do so, the deposition transcript may be        16
   16    deemed to be accurate and may be used in court.            17
   17                                                               18   Subscribed and sworn to before me this
   18                                                               19   ____ day of ______________, 20___.
   19                                                               20   My Commission expires: _________________
   20                                                               21
   21                                                               22   ________________________________________
   22                                                                    Notary Public
   23                                                               23
   24                                                               24


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    1              ------                                            1                   LAWYER'S NOTES
    2              ERRATA                                            2   PAGE LINE
    3              ------                                            3   _____ _____ _____________________________________
    4   PAGE LINE CHANGE                                             4   _____ _____ _____________________________________
    5   ____ ____ _________________________________________          5   _____ _____ _____________________________________
    6   REASON: _____________________________________________        6   _____ _____ _____________________________________
    7   ____ ____ _________________________________________          7   _____ _____ _____________________________________
    8   REASON: _____________________________________________        8   _____ _____ _____________________________________
    9   ____ ____ _________________________________________          9   _____ _____ _____________________________________
   10   REASON: _____________________________________________       10   _____ _____ _____________________________________
   11   ____ ____ _________________________________________         11   _____ _____ _____________________________________
   12   REASON: _____________________________________________       12   _____ _____ _____________________________________
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   14   REASON: _____________________________________________       14   _____ _____ _____________________________________
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   18   REASON: _____________________________________________       18   _____ _____ _____________________________________
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   20   REASON: _____________________________________________       20   _____ _____ _____________________________________
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   22   REASON: _____________________________________________       22   _____ _____ _____________________________________
   23   ____ ____ _________________________________________         23   _____ _____ _____________________________________
   24   REASON: _____________________________________________       24   _____ _____ _____________________________________


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